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1. Clicking on Add new Place opens the Add New Place screen where the user can add a new place. In this screen, the user
can either add a new place by typing in Place name or dropping a pin or drawing a place on the map.
      Support
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 2. If the user chooses to type in the relevant data, then user has to type in Place name which is mandatory.
 User has the option of selecting place type from a drop-down window. Place type is mandatory as well.
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 3. Once the minimum information is entered, then the SAVE PLACE button is enabled. On clicking the SAVE
 place button
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   4. On clicking the SAVE PLACE button, a popup appears asking if the user wants to draw a polygon or if the
   user wants to save the place as a point only. If the user chooses to save the place as point only, the check
   box for saving a place as point only is selected automatically




5. If the user chooses DRAW A PLACE, the user is given an option to draw a polygon
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6. The user now has an option to clear the polygon or save polygon before the save option is enabled
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7. When the user clicks on SAVE PLACE button, the screen now changes where the user can request for review,
view insights or edit the place further




   8. Clicking on insights brings you to the insights screen.
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PLACE SETS

1. When you select Place Sets, you'll get to see a list of place sets to choose from to view insights.

   - You will have an option to search for place sets

   - The resultant data is available on the table below the search bar

   - The total number of rows returned is displayed below the search bar.

   - Beside each place set name, the number of places in that place set is displayed
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2. Clicking on the down arrow beside each record will list out the list of places and information of each place in
each place set (The name of the place, place id, address and data available). You'll have the option to click on
data available symbol which will take them to the insights screen.



The information on how many places have data available out of the total in each place set is also displayed
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3. You can then choose the entire place set or individual/selective places from a place set and click on show
insights to go to the Placecast Dashboard screen. When individual/selective places are chosen, a new place set
is created.
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3. Placecast Dashboard Content

Overview: Placecast

1. How to get Insights for your places / place sets for your Placecast Dashboard




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     Guides                                                                                            

Identification of the Panel




Identification of the Panel                                                                        


Establishing a well-understood panel of devices specifically selected to
provide the most valuable data and minimize bias.



While the device dataset that emerges from the Data Inputs and Cleansing is clean - meaning that it
has been de-duplicated and bad data have been removed, not all the devices that remain provide
valuable data.

The following steps establish a well-understood panel of devices specifically curated to provide the
most valuable data and minimize bias. It is important to note that the use of the term “panel,” is not
exactly like a panel used in a longitudinal survey. Instead, it mimics the same methodology and shares
its benefits— but with the scale of big data.


Choosing the Panel
Motionworks maintains a panel of mobile devices from which all data products and solutions are built.
These are the most valuable devices providing consistent, frequent, and reliable location data over the
course of a week. Devices in the Motionworks panel have stable enough patterns of activity to
establish home neighborhoods (U.S. Census block groups), reasonable travel and activity patterns, and
they are geographically balanced.


Size of the Panel
The data provided to Motionworks’ by third-party partners fluctuates in size and quality. As a result,
the members of the Motionworks Panel are adjusted weekly to handle these fluctuations and to
continue to provide stable and accurate data products for our customers. On average, the number of
devices included in the panel represents 3.5% of the population. The most updated panel information
can be accessed here.


Geo-Demographic Cohorts
Motionworks strives to minimize sample bias by balancing the panel across geo-demographic cohorts:

Geographic Sampling
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The panel is balanced geographically regionally and by neighborhood. A block group is the smallest
unit in the United States for which the U.S. Census Bureau reports a full range of demographic
statistics. There are around 400 households per block group.

Demographic Sampling
The panel is balanced against the characteristics of the total population across a number of household
and individual characteristics focusing on age, income, and household composition. Claritas PopFacts
datasets provide updated demographics and household characteristics annually to ensure that the
panel makeup is representative of the current population.


 Updated 10 months ago


 Data Inputs and Cleansing                                             Activity Pattern Curation 




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Motionworks® believes in the power of out-of-home advertising. We are trusted by industry
trade bodies, Geopath and COMMB to fuel their measurement systems. In addition to being
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offers a full suite of OOH data and software solutions that can help drive results for your
business.


                                                                                                       Motionworks® makes buying our
Near Real-Time                   End-to-end Solutions             Observed Reach and                   digital media more transparent with
Metrics                          Plan your campaign,              Frequency                            credible, accurate, audience data…
Understand how many              measure the audience, and        Gauge the reach and                  – Liquid Outdoor
people were reached by           understand the impact it         frequency actually delivered
your OOH campaign, how           had on your brand with a         by a single ad or an entire
often, and who they are…         single, population-level         package of OOH inventory
every hour, every day.           dataset.                         across multiple formats and
                                                                  numerous owners.




                           Understanding your audience
                              Whether you are preparing to build new displays, acquire inventory,
                                  or design an impactful cross-format plan for your brand,
                               Motionworks® can help you accurately quantify your audience.



                                                             Our solutions
     Viewcast: Measuring OOH audience                                                        Placecast®: visitation insights for places of
     exposure in near-real time                                                              all types and sizes, experiential events, and
                                                                                             more

     Yieldcast: Maximize profits with dynamic                                                Retargeting: Amplify your OOH with social
     pricing and data-driven yield management (a                                             media, mobile, or CTV advertising
     partnership with Simon-Kucher)

     Attribution: Quantify the impact of OOH by                                              Cohorts: Curate proprietary audience targets
     analyzing footfall, online conversions, and                                             with first- or third-party data to fuse into any
     attitudinal changes                                                                     of Motionworks® other solutions

                                                                                                                                         Privacy - Terms
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                                                                     Talk to an expert




Questions we can help you answer:
What kind of audience does my display reach?
  Whether you are planning to build new displays, acquire new inventory, or
  convert existing displays from static to digital, Motionworks® can help you
  quantify the audience.

  Motionworks® provides all of the standard media metrics used to value out-
  of-home advertising and more, such as reach, frequency, opportunity-to-see
  impressions, hourly impression multipliers, DECs, dwell time, and average
  speeds.

  The data can be delivered historically back to January 2019 or can even
  predict impressions on inventory that has yet to be built.

  Motionworks® metrics can be provided by the month, week, day, or hour to
  help you understand how your portfolio changes throughout the year to help
  with dynamic pricing and sales.

  Motionworks® has access to thousands of demographic and behavior profiles
  to help you understand not just how many people see your inventory, but what
  they buy, where they shop, and what causes they are passionate about.


How can I amplify my OOH campaign using other media channels?
  Motionworks® can help you retarget people who have been exposed to your
  OOH advertising, reach people who live in target geographies, or areas of a
  market where OOH advertising doesn’t exist through retargeting.

  Motionworks® can retarget audiences on mobile devices, websites, social
  networks, and CTV.

  Ads are only displayed in quality content and channels.


Did my OOH campaign work?
  Motionworks® can provide post-campaign metrics such as reach, frequency,
  and impressions delivered to help fuel marketing mix models and more.

  Utilizing Motionworks® metrics, buyers can help optimize future campaigns by
  identifying which inventory over and underdelivered.

  Motionworks® can assess whether or not exposed audiences visited a store
  or a website and the associated lift in conversions.
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How can I access the data?
  Motionworks® OOH insights can be accessed within your own software via
  the Motionworks® API or via the Motionworks® OOH Data Enablement
  Platform.




                      See how population intelligence can                                            Talk to an expert
                      empower better decision making.



       




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     Guides                                                                                         

Population Segments




Population Segments                                                                               


A reference for users, Motionworks provides population segment
references with the segment sources, and published segments can be
added to Motionworks products generally.



Motionworks provides much of its data referenced to geo-demographic cohorts of the population. In
addition, behavioral and commercial 3rd party segmentation systems may be used to cross-classify
any number of refined population segments, custom for any customer.


Demographics
Motionworks includes the following core demographic attributes for customers to create custom
population segments.

Demographics for populations in the United States:
     Age - Age (up to 100).
     Gender - Gender following US Census Bureau's sex classification.
     Race - Race following US Census Bureau's race classifications.
     Hispanic - Hispanic origin following the US Census Bureau's Ethnicity classification, where people
     may be any race but identify as Hispanic, Latino, or Spanish.
     Worker - Worker status using the US Census definition of worker in the American Community
     Survey.
     Language - Language spoken at home (English, Spanish, other).
     Household Type - Distinguishes "households" from Institutional and Non-institutional Group
     Quarters.
     Household Size - The number of people living in the household.
     Household Children - Presence of children (age less than 18yrs) in the household.
     Household Income - Total household income (USD) reported, adjusted for inflation.
     Household Vehicles - Number of vehicles available to the household.


3rd Party Segmentation Systems
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Detailed descriptions and sources for the 3rd Party Segmentation Systems are provided on the pages
linked below:

    Claritas PRIZM Segments
    Claritas Consumer Segments


Schema
Motionworks delivers Segments via Snowflake or can be delivered using a compressed flat file output
(csv.gz) via cloud storage. The following describes the schema.

  Name                          Description                        Type         Example

                                Unique identifier for the
                                                                                a0445aed-cda4-
                                Customer's population
  motionworks_segment_id                                           string       4d74-bc01-
                                segment, including customer's
                                                                                894f415412c2
                                identifier and description.

  customer_id                   Customer Account Number            integer      30

  customer_name                 Customer Account Name              string       Motionworks

  customer_segment_id           Customer Segment Identifier        string       age_21plus

                                Customer Segment Name or
  customer_segment_name                                            string       Population, Age 21+
                                Description

                                Year of the Popcast™ Digital
  year                                                             integer      2022
                                Population being summarized.

                                Filter on the age of people to
                                include. If null then no
  age_min                                                          integer      21
                                restriction. Values must be
                                greater than 0.

                                Filter on the age of people to
                                include. If null then no
  age_max                                                          integer      54
                                restriction. Values must be less
                                than 100.

                                Filter on the gender of people
                                to include. If null then no
  gender                        restriction. Values must be        string       f
                                either null , f (female), or
                                m (male).
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                                        517
Name                      Description                       Type         Example

                          Filter on the race of people to
                          include. If null then no
                          restriction. Values follow US
                          Census Bureau classifications:
                              white = White
                              black = Black or African
                              American
                                                            JSON
races                         native = American Indian                   ["asian"]
                                                            [string]
                              or Alaska Native
                              asian = Asian
                              islander = Native
                              Hawaiian or Other Pacific
                              Islander
                              other = Other
                              multiple = Multiple

                          Filter on people who identify
                          as Hispanic to be included. If
hispanic                   null then no restriction.        boolean      true
                          Values follow US Census
                          Bureau classifications.

                          Filter on the Worker status of
                          people to include. If null
                          then no restriction. Values
worker                                                      boolean      true
                          follow the US Census
                          definition of worker in the
                          American Community Survey.

                          Filter on people using the
                          language spoken in the home.
                          If null then no restriction.
                                                            JSON
language                  Values may include:                            ["spanish"]
                                                            [string]
                              english
                              spanish
                              other

household_size_min        Filter on people using the        integer      2
                          number of people that live in
                          their household. If null then
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Name                     Description                       Type         Example
                         no restriction. Values must be
                         greater than 0.

                         Filter on people using the
                         number of people that live in
household_size_max       their household. If null then     integer      6
                         no restriction. Values must be
                         less than 20.

                         Filter on people using the
                         condition of if there are
                         children (age less than 18yrs)
household_children                                         boolean      true
                         that also live in their
                         household. If null then no
                         restriction.

                         Filter on people that live in a
                         household with a Total
                         household income reported
                         (USD - adjusted for inflation)
household_income_min     above this value. If null then    integer      85000
                         no restriction. Values may be
                         negative (i.e. Self-employment
                         Income, Interest, Dividends, or
                         Net Rental Income)

                         Filter on people that live in a
                         household with a Total
                         household income reported
household_income_max                                       integer      199999
                         (USD - adjusted for inflation)
                         below this value. If null then
                         no restriction.

                         Filter on people using the
                         number of vehicles available
household_vehicles_min   to their household. If null       integer      1
                         then no restriction. Values
                         must be greater than 0.

                         Filter on people using the
                         number of vehicles available
household_vehicles_max   to their household. If null       integer      2
                         then no restriction. Values
                         must be less than 6.
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 Name                        Description                        Type         Example

                             Filter on people that live in a
                             household classified as any of
                             the listed Claritas PRIZM
                             Segments. Only the primary         JSON
 prizm_segments                                                              [54]
                             segments, which may be             [integer]
                             represented as an integer
                             value, may be included. If
                              null then no restriction.

                                                                             ["afdb2350-3a53-
                             Filter on people associated                     4c3f-a707-
                             with any listed Claritas           JSON         faa0f4cda695",
 consumer_segments
                             Consumer Segments. If null         [string]     "c43a56df-ffc1-
                             then no restriction.                            4513-93da-
                                                                             82e51ea9a9d4"]



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    US Block Groups Regional                                          Claritas PRIZM Segments 

    Geography Reference




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                                   In ow®
                                    fl
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                                   Henrik Kniberg
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                            ALEXIY
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VideoAmp Linked
Identity + Data
Our Big Data and Technology engine
VALID TM is purpose-built to help you
reach your intended target, and get a
precise view of performance across
linear TV, streaming and digital
platforms.




                                                   Begin With Better Data,
                                                   End With The Best
                                                   Results.
                         PLAY VIDEO
                                                   Ad measurement has become increasingly
                                                   complex, between viewer fragmentation and
                                                   increasing privacy regulations. VALID TM offers a
                                                   better path forward.




  TV VIEWERSHIP DATA               IDENTITY GRAPH                         PATENTED CLEAN ROOM

  Understand who you reached,      Reach your most valuable               Connect online and offline
  how many times and where.        audiences across screens.              datasets without exposing
                                                                          sensitive information to any
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                                                                          party.
                                               525




Yes, You Can Have It
All.
Get the Highest Quality Dataset at Scale.
VideoAmp is leading the industry with a rigorous
commingling methodology that brings together
Set-Top-Box (STB) and Smart TV data.



39M 63M
HOUSEHOLDS         DEVICES




  ACCURATE                           RELIABLE                             REPRESENTATIVE

  We correct for biases and          We capture viewership data at        Our dataset offers a holistic
  gaps in coverage often seen        granular levels, giving you the      view of advanced audience
  in a single source, delivering     full story you need to get           viewership and hard-to-reach
  precise measurement across         credit for every impression.         demos, including Hispanic,
  traditional broadcast and                                               Black, and younger age
  streaming viewership.                                                   brackets.


                                                                          LEARN MORE




                                                       Solving for Media’s
                                                       Identity Crisis.
                                                    VideoAmp’s proprietary Commingled Identity
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                                                526 Graph ushers in an era of precision targeting,
                                                    measurement success, and advanced media
                                                        currency.

                                                        You pay a lot to target specific audiences, don’t
                                                        you want to actually reach them?




  PRECISE                              UNIFIED                              EFFECTIVE

  We unlock accuracy and scale         Say goodbye to diluted               Advertisers and publishers get
  for targeting and                    audience data. Our Identity          greater assurance that they
  measurement by combining             Graph serves as a single,            are reaching the right
  best-in-class identity assets        enduring source of truth             audiences across platforms,
  from high-quality consumer           throughout the consumer              reducing waste.
  data providers.                      journey.
                                                                            LEARN MORE




Privacy, Please.
We’re not following trends, we’re setting them.
Our patented clean room technology is a
breakthrough in privacy-first data sharing that
reshapes the advertising landscape from start to
finish.

Rest easy knowing that we practice safe
measurement.
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SECURE                         COLLABORATIVE                     FUTURE PROOF

We deliver measurement         We partner with leading           Our clean room is purpose-
based on high-quality          publishers to deliver cross-      built to withstand the phaseout
advertiser and publisher       platform audience and             of legacy identifiers. And that’s
datasets without               attribution measurement via       the way the cookie crumbles.
compromising privacy.          our clean room.
                                                                 LEARN MORE




               Put our data to the test. Let's talk
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           Motionworks            Subscribe                                                                      5   Share   Save
           14 subscribers


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     Jules Folkers and Kym Frank walk through a demo of the Motionworks Heatmapping Solution, Popcast. ...more



                                 I Replaced ALL my ADOBE APPS with these [free or cheaper] Alternatives!
                                 Joris Hermans
                                 428K views • 1 month ago

                        10:18

                                 A Boss Reveals Everything Your Company Can Monitor in Microsoft
                                 Pragmatic Works
                                 187K views • 1 month ago

                        11:55

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                                 NVIDIA
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                                 NSF NCAR Research Applications Laboratory
                                 55 views • 2 weeks ago

                       1:00:47

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                                 Healthy Regions + Policies Lab
                                 26 views • 4 days ago
                                  New
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                                 IBM Technology
                                 86K views • 1 month ago

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                            Generative AI in a Nutshell - how to survive and thrive in the age of AI
                                                                                                                                            Sign in
                            Henrik Kniberg
                            1.9M views • 7 months ago

                   17:57

                            What is digital transformation? PwC Chief Digital O cer Explains. (CXOTalk #362)




                                                                              ffi
                            CXOTalk
                            164K views • 4 years ago

                   41:14

                            CIO Playbook for Enterprise AI | CXOTalk #810
                            CXOTalk
                            37K views • 10 months ago

                   46:26

                            Supercharge Your Brain with OneNote & Copilot's Integration
                            Daniel Anderson
                            570 views • 3 days ago
                            New
                  1:19:26

                            Leveraging the Transformative Power of Agentic Work ows | Intel




                                                                                    fl
                            Intel
                            428 views • 4 days ago
                             New
                   23:15

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                            Motionworks
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                            Tufts Technology Services
                            19 views • 11 days ago




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                            Aerial Earth 🌎
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                            Eric Schmidt Full Controversial Interview on AI Revolution (Former Google CEO)
                            Financial Wise
                            50K views • 3 weeks ago




                            Force of the Future - Cervical Cancer Data Dashboard Session
                            ACS National Roundtable on Cervical Cancer
                            34 views • 2 weeks ago




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                            WIGIre
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                            Motionworks
                            47 views • 1 year ago




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                            College of Licensed Practical Nurses of NL
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                            TopoDOT
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                                                                    Real with Sports04/02/25         Page 46 of 112 PageID #:
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           Webinars - 47 MINS


           Getting Real with Sports TV Viewership




                       47:16




           While it’s true that challenges in TV measurement exist (only 37% of TV advertisers say
           they’re very confident in their measurement), there are opportunities abound for those
           equipped to navigate this landscape effectively. The discussion with Relo Metrics and
           VideoAmp hones in on the potential and veracity of sports TV viewership data, highlighting
           how accurate measurement can drive better advertiser decisions.

https://videoamp.com/video/webinars/getting-real-with-sports-tv-viewership/
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NAIL
Network Advertising Initiative




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      INTRODUCTION
      The Network Advertising Initiative (NAI) is the leading non-profit, self-regulatory body focused on advertising
      technology providers in the online advertising ecosystem. Created during the nascence of the online
      advertising industry in 2000, the NAI is one of the Internet's longest standing and most respected industry
      self-regulation efforts. The NAI currently has over 100 member companies and continues to expand.

      For nearly twenty years the NAI has developed and enforced self-regulatory standards that establish sound
      data management practices with respect to the collection and use of data for Tailored Advertising and
      related practices. These self-regulatory standards are set forth in this NAI Code of Conduct (referred to as
      the Code) which was initially adopted in 2000 with the unanimous support and praise of the U.S. Federal
      Trade Commission (FTC).

      As advertising technology expanded to mobile devices, in 2013 the NAI published its first Mobile
      Application Code (App Code) to extend NAI standards to the mobile advertising ecosystem. The App
      Code was drafted to mirror the principles set forth in the Code while adding guidance specific to data
      collection and use through mobile applications. First updated in 2015, the App Code was integrated into
      the 2018 Code of Conduct and ceased to exist as a separate document. The NAI has also published more
      detailed information for members engaging in specific ad-related activities in Guidance for NAI Members
      on the topics of Cross-Device Linking, Viewed Content Advertising, Use of Non-Cookie Technologies for
      Interest-Based Advertising, and Determining Whether Location Is Imprecise.

      The Code imposes notice, choice, accountability, data security, and use limitation requirements on NAI
      member companies. The NAI holds its members to their promise to adhere to the Code and Guidance
      through a rigorous compliance and enforcement program that includes annual reviews, investigation of
      complaints, and enforcement procedures when appropriate. Additionally, the NAI's compliance initiatives
      include the use of technological monitoring tools that aim to identify possible problems or violations at an
      early stage, so that member companies may promptly address them.

      The NAI and its Board of Directors periodically review and update the Code to anticipate and respond
      to rapidly evolving technologies and business models, as well as new issues raised by regulators and
      policymakers. For example, the Code was revised in 2008 and 2013, and updated in 2015 and 2018. This
      2020 revision modernizes certain terminology and codifies many members' existing practice of applying NAI
      principles to the use of data originating offline for digital advertising, making this now a general member
      requirement. The expanded definition of Tailored Advertising, now including Audience-Matched Advertising,
      covers the use of such data to target advertising across sites, applications, and on covered devices.


      Purpose of the 2020 Code
      Notwithstanding modest updates in 2015 and 2018, the last significant revision to the Code took place
      in 2013. Since then the market has witnessed a rapid maturation of the mobile advertising ecosystem,
      expanding use of offline data for online ad targeting, the proliferation of linking devices for targeted
      advertising (including on televisions), and an evolution in the dialogue regarding data identifiability due
      to technological advances. These issues are addressed in the revised Code. The 2020 Code incorporates
      the Guidance for NAI Members: Viewed Content Advertising, which expanded the scope of the NAI's
      self-regulatory efforts to data collection and use on televisions for Tailored Advertising upon its release
      in 2018. The 2020 Code also adds several new definitions, and revisits a few existing ones including the
      concept of data identifiability in the form of Device-Identified Information (DII) and Personally-Identified
      Information (PII).


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                 The scope of the Code officially expands to cover an area in which it has been applied by a majority of
                 member companies for a number of years: the use of user-level offline data for targeted advertising across
                 websites and applications, as well as on covered devices. This change effectively codifies the current
                 practices of most NA] members and will now be enforced as a Code requirement to ensure uniformity
                 in the treatment of such data across the NAI's entire membership. Finally, this Code also establishes
                 certain transparency requirements for members' use of data to engage in Tailored Advertising on behalf
                 of political campaigns, and expands Opt-In Consent requirements for additional uses of Sensitive
                 Information, Precise Location Information, Sensor Information, and Personal Directory Information.


                 Scope of the Code
                 The Code governs only NAI member companies. It does not govern all data collection by member
                 companies, but rather it is limited to members' Tailored Advertising and Ad ❑elivery and Reporting
                 activities as defined herein. To the extent a member company collects or uses previously collected
                 data about a user, browser, or device for the purpose of either delivering advertisements or providing
                 advertising-related services on unaffiliated websites and applications as well as on covered devices, that
                 activity is governed by the Code.

                 The Code applies to members' Tailored Advertising and Ad Delivery and Reporting activities that:
                 (1) occur in the United States or (2) apply to U.S. users. The NAI continues to monitor legislative and
                 regulatory developments outside the U.S. and it encourages its members to apply the high standards
                 of the Code on a global level, as many member companies do. At this time, however, only U.S.-based
                 online advertising activities are subject to the NAI compliance program.

                 Member companies are, of course, expected to abide by all laws applicable to their businesses. The
                 Code generally goes above the requirements of applicable laws in the U.S. However, to the extent there
                 is a conflict between the Code and a member's obligations under applicable law, the member shall
                 abide by the applicable law.

                 Consistent with the FTC's definition of "online behavioral advertising" and the DAA Principles', the
                 Code does not govern "contextual advertising," which is based solely on the context of a website,
                 application, or viewed content.

                 Member companies may use various technologies to engage in Tailored Advertising as business
                 models cover traditional desktop web browsing in addition to activity on mobile devices, tablets, and
                 on covered devices, as well as the linking of such devices based on the assumption that they belong
                 to the same user. The Code is intended to be technology-neutral, imposing obligations on members'
                 Tailored Advertising activities regardless of the technologies used. The NAI continues to believe that all
                 technologies, when used by members for Tailored Advertising, should provide users with an appropriate
                 degree of transparency and control consistent with Code requirements. Due to the rapid pace of
                 innovation in the digital advertising ecosystem, the NAI may publish from time to time additional
                 guidance documents related to Code requirements.




                 1
                 1     See  Digital Advertising
                        See Digital Advertising Alliance,
                                                  Alliance, Self-Regulatory
                                                            Self-Regulatory Principles  for Online
                                                                             Principles for Online Behavioral   Advertising (DAA
                                                                                                    Behavioral Advertising   (DAA OBA
                                                                                                                                    OBA Principles),
                                                                                                                                           Principles), available
                                                                                                                                                        available at
                                                                                                                                                                  at
                 http://www.aboutads.info/resource/download/seven-principles-07-01-09.pdf; see
                 http://www.aboutads.info/resource/download/seven-principles-07-01-09.pdf;             see also
                                                                                                           also Digital Advertising Alliance,
                                                                                                                Digital Advertising   Alliance, Self-Regulatory
                                                                                                                                                Self-Regulatory
                 Principles for Multi-Site
                 Principles for            Data (DAA
                                Multi-Site Data   (DAA Multi-Site   Data Principles),
                                                         Multi-Site Data Principles), available
                                                                                      available at http://www.aboutads.info/resource/download/Multi-Site-
                                                                                                at http://www.aboutads.info/resource/download/Multi-Site-
                 Data-Principles.pdf;  Digital Advertising
                 Data-Principles.pdf; Digital  Advertising Alliance,
                                                             Alliance, Application
                                                                       Application of  Self-Regulatory Principles
                                                                                    of Self-Regulatory              to the
                                                                                                         Principles to the Mobile  Environment (DAA
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                 Guidance),
                 Guidance), available
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      The Code includes both code provisions and explanatory commentary. The purpose of the commentary
      sections in this Code is not to add substantive obligations on members or to alter the principles set forth
      in the Code itself. Instead, the commentary explains the intent behind certain provisions of the Code and
      provides non-binding illustrative guidance on methods through which members can meet the substantive
      obligations herein.


      Relationship to the DAA's Principles and Guidance
      In 2010, the NAI, along with five other trade associations, helped form the ❑igital Advertising Alliance
      (DAA). The DAA has developed Principles governing data collection and use across unaffiliated websites
      and applications, and enforces these through the Better Business Bureau (BBB) and the Data and Marketing
      Association (DMA).The DAA is composed of trade associations representing website and application
      publishers, internet service providers, cell phone carriers, social networks, advertisers, offline data providers,
      as well as the digital technology companies represented by the NAI. Consequently, the DAA Principles
      govern the entire digital advertising ecosystem and impose obligations not only on advertising technology
      companies but also on website publishers and brand advertisers.

      Because the DAA Principles apply to the entire digital advertising ecosystem, they are by nature broader and
      in some cases less restrictive than the NAI Code, which only applies to member companies that agree to
      adhere to NAI requirements. However, the Code largely harmonizes with the DAA Principles as they apply to
      covered activities by NAI member companies. Thus, for example, the Code imposes an "enhanced" notice
      requirement for ads informed by Tailored Advertising. Similarly, the Code also makes explicit the purposes for
      which member companies may not use, or allow the use of, data collected for advertising purposes.

      Unlike the DAA Principles, the NAI Code applies only to NAI members, and only to the extent they are
      engaged in activities addressed by the Code? Thus, obligations contained in the DAA Principles that are
      not applicable to third-party advertising companies are not included in the NAI Code. In some cases,
      obligations imposed on third-party advertising companies may be phrased differently in the Code than in
      the DAA Principles.

      Because of the narrower scope of the NAl Code and its application only to member companies, in some
      instances this Code imposes obligations on NAI member companies beyond those required by the current
      DAA Principles. NAl-specific obligations intended to establish a strong Code compliance framework for
      members include:

                 1) Completion of an annual review of the members' compliance with the NAI Code and
                    Guidance by NAI compliance staff;3

                 2) Robust Notice and Opt-In Consent requirements for the use of Personally-Identified
                    Information (PII), including merger with Device-Identified Information (DII), for Tailored
                    Advertising purposes;




      2
      2    The NAI
           The NAI Code
                     Code promotes
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                                       actions by      members to
                                                   NAI members     to increase trust in
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                             3) Disclosures regarding data collection and use practices for Ad Delivery and Reporting;

                             4) Transparency with respect to all standard "health-related" interest segments used for
                                Tailored Advertising;

                             5) Transparency with respect to all standard "political" interest segments used for
                                Tailored Advertising;

                            6) Opt-In Consent requirements for the use of "sensitive" health segments for Tailored
                               Advertising and Ad Delivery and Reporting;

                            7) Opt-In Consent requirements for the use of "sexual orientation" segments for
                               Tailored Advertising and Ad Delivery and Reporting;

                             8) Contractual requirements for partner-provided notice;

                             9) Data retention limits and disclosure obligations;

                           10) Requirements for vetting data sources;

                           11) Limitations on the transfer of data collected for Tailored Advertising;

                           12) Deletion requirements for Pll and associated DII used for Tailored Advertising;

                           13) Notice and consent requirements related to Audience-Matched Advertising; and

                           14) Notice and consent requirements related to data collection and use on televisions
                               and peripheral devices.

                 Thus, the Code incorporates and expands on the DAA Principles, and the NAI employs a robust,
                 member-specific compliance review process in an effort to quickly gauge compliance. These additional
                 obligations inform users and businesses that NAI member companies implement, honor, and maintain
                 the NAI's high standards for data collection and use for Tailored Advertising.


                 Framework of the Code
                 The fundamental principle underpinning the Code is that differing notice and choice obligations should
                 apply depending on the sensitivity and proposed use of data. This basic principle, which has long been
                 recognized by the NAI, is supported by the FTC's 2012 Final Privacy Report and the 2012 White House
                 Privacy Report.4 Both reports explicitly acknowledge that privacy protections should not be applied in
                 a "one-size fits all" approach. Instead, privacy safeguards should be flexible, scalable, and take into
                 account the context in which the data is collected and used.




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                                            Privacy Report),
                                                    Report), available
                                                              available at  https://www.ftc.gov/sites/default/files/documents/reports/federal-trade-commission-
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                 report-protecting-consumer-privacy-era-rapid-change-recommendations/120326privacyreport.pdf; WHITE
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                 House Privacy    Report), available
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                                                     at https://obamawhitehouse.archives.gov/sites/default/files/privacy-final.pdf.
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      While arguments have been made that with adequate efforts a variety of data points can ultimately
      be used to identify an individual, the NAI continues to find great value in providing an incentive for
      member companies, where possible, to avoid collection and retention of directly identifying data such
      as plaintext name, email and postal address, telephone number, ❑r social security number. As a result,
      many NAI member companies collect and retain only those identifiers that are not intended to directly
      identify an individual, such as cookie identifiers, mobile advertising identifiers, and in some instances,
      hashed email addresses.

      Recognizing the evolving discussion around identifiability, however, this Code adopts updated
      terminology and definitions to maintain the focus on how member companies treat and maintain data
      in relation to the identifiers to which that data is tied, rather than on the hypothetical identifiability of
      data in a manner divorced from real-world privacy consequences to users.

      To that end, this Code classifies identifiers into three categories and imposes different obligations on
      NAI members based on the sensitivity and use of the data. These three categories are:

                 1) Personally-Identified Information (PII);

                 2) Device-Identified Information (DII); and

                 3) De-Identified Information.

      Pll refers to data that is used, or intended to be used, to directly identify a particular individual; DII refers
      to data that is linked to a browser, device, or group of devices, but is not used, or intended to be used,
      to directly identify an individual; and De-Identified Information refers to data that is not linked to either
      an individual or device. In addition, the Code imposes heightened obligations with respect to Sensitive
      Information, Precise Location Information, Sensor Information, and Personal Directory Information use for
      Tailored Advertising and Ad Delivery and Reporting. Sensitive Information includes specific types of Pll that
      are sensitive in nature, as well as DII related to sensitive medical conditions and sexual orientation.

      The NAI Code was originally drafted to address data collection and use for targeted advertising on web
      browsers, referred to as Interest-Based Advertising. As technology evolved, the NAI expanded the scope
      of its Code to also cover data collection and use for digital advertising in mobile applications, known
      as Cross-App Advertising, and most recently to data collection and use on televisions, through Viewed
      Content Advertising. Increasingly, these activities are combined through reliance on Cross-Device Linking
      to provide relevant advertising across devices. Because the web, application, and television environments
      differ in the methods through which NAI members are able to provide users with notice and choice,
      the NAI continues to define Interest-Based Advertising, Cross-App Advertising, and Viewed Content
      Advertising as separate activities. However, these three activities, along with Retargeting and Audience-
      Matched Advertising, are considered Tailored Advertising. This enables the NAI to maintain its high
      standards for ensuring user privacy across all environments while adapting certain requirements to better
      suit the notice and choice possibilities on specific types of devices. Because of the expanded scope of this
      Code, in addition to mobile phones and tablets, use of the term "device" now also includes televisions
      and peripheral devices such as digital media players and gaming consoles.




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                 Platforms and Technology Providers
                 Some NAI members do not themselves engage in Tailored Advertising, but provide technologies or
                 platforms that enable others to engage in such activities. These members may not always have visibility
                 into the way their partners or clients may use their technology or platform. The NAI is mindful of the
                 limitations this may place on such members' ability to monitor compliance with the Code, but expects such
                 members to pass any relevant Code requirements and restrictions to their clients and partners through
                 contractual means. As an example, if members are unable to verify whether their technology or platform
                 is used by others to collect Sensitive Information for Tailored Advertising, these members are expected to
                 contractually prohibit such activity without a user's Opt-In Consent.


                 NAI Oversight and Monitoring
                 The NAI Code is a self-regulatory code. The NAI recognizes that the application of the Code and
                 Guidance may involve subjective judgments and that technical, operational, and policy questions may
                 affect such judgments. For that reason, as a self-regulatory body, the NAI is the final arbiter of how the
                 Code and Guidance apply to its members' practices in any given instance. Only NAI staff is authorized
                 to interpret the requirements of the Code and Guidance and to evaluate compliance with and enforce
                 violations of the Code or Guidance. If NAI staff determines that there is an instance of non-compliance
                 with the Code or Guidance by a member, and i: a member refuses to implement recommended steps to
                 bring its practices into compliance, the NAI enforcement procedures allow the NAI to refer the matter to
                 the FTC. In making such a referral, the NAI does not ask the FTC to interpret the Code or Guidance, but
                 simply to address the member's failure to comply with the NAI's interpretation and application of the Code
                 or Guidance.




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      2020 NA1CODE OF CONDUCT
      1. Definitions
         A. AD DELIVERY AND REPORTING (ADR)
            Ad Delivery and Reporting (ADR) is separate and distinct from Tailored Advertising, and it
            refers to the collection or use of data about a browser or device for the purpose of delivering
            ads or providing advertising-related services, including, but not limited to: providing a specific
            advertisement based on a particular type of browser, device, time of day, or real-time precise
            location; statistical reporting, traffic analysis, analytics, optimization of ad placement; ad
            performance, reach, and frequency metrics (including frequency capping); sequencing of
            advertising creatives; billing; and logging the number and type of ads served on a particular day
            to a particular website, application, or device. ADR does not include data collection and use for
            security and fraud prevention. If data collected through ADR is later used to tailor advertising
            based on interests known or inferred from such data, such use shall be treated as Tailored
            Advertising under this Code.

         B. AUDIENCE-MATCHED ADVERTISING (AMA)
            Audience-Matched Advertising (AMA) is the practice of using data linked, or previously linked, to
            Personally-Identified Information (P1I) for the purpose of tailoring advertising on one or more unaffiliated
            web domains or applications, or on devices, based on preferences or interests known or inferred from
            such data.

         C. CROSS-APP ADVERTISING (CAA)
            Cross-App Advertising (CAA) is the collection of data through applications owned or operated
            by different entities on a particular device, or the use of such data, for the purpose of tailoring
            advertising based on preferences or interests known or inferred from the data collected.

         D. CROSS-DEVICE LINKING
            Cross-Device Linking is the practice of linking two or more devices or browsers known or
            reasonably believed to belong to the same user or household, for Tailored Advertising or Ad
            Delivery and Reporting.

         E. DE-IDENTIFIED INFORMATION
            De-Identified Information is data that is not linked or intended to be linked to an individual,
            browser, or device.

         F. DEVICE-IDENTIFIED INFORMATION (DII)
            Device-Identified Information (DII) is any data that is linked to a particular browser or device if
            that data is not used, or intended to be used, to directly identify a particular individual. Dll may
            include, but is not limited to, unique identifiers associated with browsers or devices, such as
            cookie identifiers or advertising identifiers, and IP addresses, where such data is not linked to PII.
            DII includes data that is linked to a series of browsers or devices associated through Cross-Device
            Linking, if that data is not used to directly identify a particular individual. DII does not include
            De-Identified Information.




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                G. INTEREST-BASEDADVERTISING(IBM
                   Interest-Based Advertising (IBA) is the collection of data across web domains owned or operated
                   by different entities, or the use of such data, for the purpose of tailoring advertising based on
                   preferences or interests known or inferred from the data collected.

                H. OPT-IN CONSENT
                   Opt-In Consent is an affirmative action taken by a user that manifests the intent to opt in to an
                   activity described in a clear and conspicuous notice. An NAI member may obtain Opt-In Consent
                   directly from a user, or through reasonable assurances that a partner interacting directly with the user
                   has obtained such consent on the member's behalf.

                I. OPT-OUT MECHANISM
                   An Opt-Out Mechanism is an easy-to-use mechanism by which users may exercise choice to
                   disallow Tailored Advertising with respect to a particular identifier, browser, or device.

                J. PERSONALDIRECTORYINFORMATION
                   Personal Directory Information is calendar, address book, phone/text log, photo/video data
                   (including any associated metadata), or similar data created by a user that is stored on or
                   accessed through a device.

                K. PERSONALLY-IDENTIFIEDINFORMATIONCPII)
                   Personally-Identified Information (PII) is any data linked, or intended to be linked, to an
                   identified individual, including name, address, telephone number, email address, financial
                   account number, and non-publicly available government-issued identifier.

                L PRECISELOCATIONINFORMATION
                   Precise Location Information is data that describes the precise geographic location of a device
                   derived through any technology that is capable of determining with reasonable specificity
                   the actual physical location of an individual or device, such as GPS-level latitude-longitude
                   coordinates or location-based radio frequency signal triangulation.

                M. RETARGETING
                   Retargeting is the practice of collecting data about a browser's or device's activity in one
                   unaffiliated web domain or application, or the use of such data, for the purpose of customizing
                   an advertisement in a different, unaffiliated web domain or application, or on a separate
                   covered device.

                N. ROBUSTNOTICE
                   Robust Notice is the provision of clear and conspicuous notice, directly adjacent to a Pll entry field
                   or submit button, at the time and place of collection of Pll for Tailored Advertising purposes.




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         0. SENSITIVE INFORMATION
            Sensitive Information includes:
            • Social Security Numbers or other non-publicly available government-issued identifiers;
            • Insurance plan numbers;
            • Financial account numbers;
            • Information about any past, present, or potential future health or medical conditions or
                treatments, including genetic, genomic, and family medical history, based on, obtained or
                derived from pharmaceutical prescriptions or medical records, or similar health or medical
                sources that provide actual knowledge of a condition or treatment (the source is sensitive);
            • Information, including inferences, about sensitive health or medical conditions or treatments,
                including but not limited to, all types of cancer, conditions predominantly affecting or
                associated with children and not treated with over-the-counter medication, mental health-
                related conditions, and sexually transmitted diseases (the condition or treatment is sensitive
                regardless of the source); and
            • Information, including inferences, about a user's sexual orientation.

         P. SENSOR INFORMATION
            Sensor Information includes information from a camera, microphone, or any sensor on a user's
            device that may collect biometric data from such device. Sensor Information does not include
            information such as barometric pressure or accelerometer data that is used to determine the
            status of the device, alone or in combination with Precise Location Information.

         Q. TAILORED ADVERTISING
            Tailored Advertising is the use of previously collected data about an individual, browser, or
            device to tailor advertising across unaffiliated web domains or applications, or on devices,
            based on attributes, preferences, interests, or intent linked to or inferred about, that user,
            browser, or device. Tailored Advertising includes Interest-Based Advertising, Cross-App
            Advertising, Audience-Matched Advertising, Viewed Content Advertising, and Retargeting.
            Tailored Advertising does not include Ad Delivery and Reporting, including frequency capping
            or sequencing of advertising creatives.

         R. VIEWED CONTENT ADVERTISING
            Viewed Content Advertising is the collection of Viewed Content Information, or the use of such
            data for the purpose of tailoring advertising based on preferences or interests known or inferred
            from the data collected.

         S. VIEWED CONTENT INFORMATION
            Viewed Content Information is data about the video content viewed on a television.




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                    IL Member Requirements
                       A. EDUCATION
                          1.   Members shall collectively maintain an NAI website to serve as a centralized portal offering
                               education about Tailored Advertising, the requirements of the NAI Code, and information
                               about, and/or centralized access to, user choice mechanisms.

                          2.   Members shall use reasonable efforts to educate users about Tailored Advertising and the
                               choices available to them with respect to Tailored Advertising.

                       B. TRANSPARENCYAND NOTICE
                          1.   Member Website Notice; Each member company shall provide clear, meaningful, and
                               prominent notice on its website that describes its data collection, transfer, and use practices
                               for Tailored Advertising and Ad Delivery and Reporting. Such notice shall include:

                               a.   A general description of the following, as applicable;

                                    i.    The Tailored Advertising and Ad Delivery and Reporting activities undertaken by the
                                          member company;

                                    ii.   The types of data collected or used for Tailored Advertising and Ad Delivery and Reporting
                                          purposes, including any PII, Sensitive Information, Viewed Content Information, Precise
                                          Location Information, Sensor Information, and Personal Directory Information (if applicable);

                                    iii. How such data will be used, including transfer, if any, to third parties;

                                    iv. The technologies used by the member company for Tailored Advertising and Ad
                                        Delivery and Reporting, including any non-cookie technologies and Cross-Device
                                        Linking for these purposes; and

                                    v,    The approximate length of time that DII and Pll used for Tailored Advertising and/or
                                          Ad Delivery and Reporting will be retained by the member company.

                               b. A statement that the company is a member of the NAI and adheres to this Code;

                               c.   A link to, or a description of how to access, an Opt-Out Mechanism for the company's
                                    Tailored Advertising across unaffiliated applications (if applicable);

                               d. A link to, or a description of how to access, an Opt-Out Mechanism for the company's
                                  Tailored Advertising on a television (if applicable);

                               e.   A link to an Opt-Out Mechanism for the company's Tailored Advertising across
                                    unaffiliated web domains (if applicable); and

                               f.   A link to an Opt-Out Mechanism linked to Pll for the company's use of Pll or hashed
                                    Pll for Tailored Advertising (if applicable).




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            2.   Health Segments: Members that use interest segments for Tailored Advertising that are based
                 on health-related information or interests shall disclose such segments on their websites.
                 Members using standard interest segments shall disclose a list of all such segments. Members
                 using custom interest segments shall disclose a representative sample of such segments.

            3.   Political Segments: Members that use interest segments for Tailored Advertising that are
                 based on political information or interests shall disclose such segments on their websites.
                 Members using standard political interest segments shall disclose a list of all such segments.
                 Members using custom political interest segments shall disclose a representative sample of
                 such segments.

            4.   Publisher Website Notice: Members shall take steps to require those websites with which
                 they have a contract and engage in Tailored Advertising to clearly and conspicuously post
                 notice which contains, as applicable:

                 a.   A statement of the fact that data may be collected or used for Tailored Advertising
                      purposes on the website;

                 b. A description of the types of data, including any PII, Sensitive Information, Precise
                    Location Information, Sensor Information, or Personal Directory Information, that are
                    collected for Tailored Advertising purposes on the website;

                 c.   An explanation of the purposes for which data is collected by, or will be transferred to,
                      third parties, including Cross-Device Linking and Audience-Matched Advertising if
                      applicable; and

                 d. A conspicuous link to an Opt-Out Mechanism for web-based Tailored Advertising.

            5.   Publisher App Store Notice: Members shall take steps to require those applications with
                 which they have a contract and engage in Tailored Advertising to clearly and conspicuously
                 post notice, or a link to notice, in any store or on any website where the application may be
                 acquired, when and where it is technically possible. Such notice shall contain, as applicable:

                 a.   A statement of the fact that data may be collected or used for Tailored Advertising
                      purposes through the application;

                 b. A description of the types of data, including any PII, Sensitive Information, Viewed
                    Content Information, Precise Location Information, Sensor Information, or Personal
                    Directory Information, that are collected for Tailored Advertising purposes through
                    the application;

                 c.   An explanation of the purposes for which data is collected by, or will be transferred to,
                      third parties, including Cross-Device Linking and Audience-Matched Advertising if
                      applicable; and

                 d. A conspicuous link to, or a description of how to access, an Opt-Out Mechanism for
                    application-based Tailored Advertising.




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                   6.   Viewed Content Advertising Partner Notice: Members shall take steps to require those
                        partners with which they have a contract and engage in Viewed Content Advertising to clearly
                        and conspicuously post notice, or a link to notice, on the screen or most appropriate user
                        interface, when technically possible, as applicable. Such notice shall contain, as applicable:

                        a.   A statement of the fact that data may be collected or used for Viewed Content
                             Advertising purposes through the television;

                        b. A description of the types of data, including any PII, Sensitive Information, Viewed Content
                           Information, Precise Location Information, Sensor Information, or Personal Directory
                           Information, that are collected for Tailored Advertising purposes through the television;

                        c.   An explanation of the purposes for which data is collected by, or will be transferred to,
                             third parties, including Cross-Device Linking and Audience-Matched Advertising,
                             if applicable; and

                        d. A conspicuous link to, or a description of how to access, an Opt-Out Mechanism for
                           Viewed Content Advertising on the screen or most appropriate user interface.

                   7.   As part of members' overall efforts to promote transparency in the marketplace, members
                        should make reasonable efforts to confirm that websites, applications, and Viewed Content
                        Advertising partners from which the member directly or indirectly collects data for Tailored
                        Advertising purposes furnish notices comparable to those described in sections II.B.4—II.B.6
                        above, as applicable. When not contracting directly with publishers, members should only
                        contract with intermediaries who have similar requirements for the publishers or other
                        downstream parties they represent.

                   8.   Enhanced Notice: Members shall provide, or support the provision or implementation of,
                        notice of Tailored Advertising data collection and use practices and the NAI-supported
                        choices available to users, in or around advertisements that are informed by such data, with
                        the following exceptions:

                        a.   When notice is otherwise provided on the web page or application where the ad is
                             served, outside of the publisher's privacy policy or terms of service.

                        b. When notice is provided in the application's or device's settings and/or privacy policy and:

                             i.    As part of the process of downloading an application to a device; or

                             ii.   At the time the application is launched for the first time or during a device's initial
                                   setup process; or

                             iii. When the data is first accessed.




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         C. USER CONTROL
            1. The level of choice that members must provide is commensurate with the sensitivity and
                  intended use of the data. Specifically:

                  a.   Use of DII for Tailored Advertising purposes shall require access to an Opt-Out Mechanism.

                  b. Use of hashed PII for Audience-Matched Advertising shall require access to an Opt-Out
                     Mechanism linked to PII.

                  c.   Use of PII alone, or to be merged with DII collected on a going-forward basis, for Tailored
                       Advertising shall require Robust Notice at the time of PII collection as well as access to an
                       Opt-Out Mechanism linked to PH.

                  d. Use of Pll to be merged with previously collected DII for Tailored Advertising shall require
                     Robust Notice at the time of PII collection, a user's Opt-In Consent, and access to an
                     Opt-Out Mechanism linked to PH.

                  e. Use of Sensitive Information for Tailored Advertising or Ad Delivery and Reporting
                     purposes shall require a user's Opt-In Consent.

                  f.   Use of Precise Location Information for Tailored Advertising or Ad Delivery and Reporting
                       purposes shall require a user's Opt-In Consent.

                  g. Use of Personal ❑irectory Information for Tailored Advertising or Ad ❑elivery and
                     Reporting purposes shall require a user's Opt-In Consent.

                  h. Use of Sensor Information for Tailored Advertising or Ad Delivery and Reporting purposes
                     shall require a user's Opt-In Consent.

                  i.   Collection of all or substantially all Viewed Content Information from a television for
                       Viewed Content Advertising shall require a user's Opt-In Consent.

             2.   An Opt-Out Mechanism for a member's web-based Tailored Advertising shall be made
                  available on both the member's website and on the NAI website.

             3.   An Opt-Out Mechanism for a member's use of PII or hashed PII shall apply to the member's
                  use of that PII or hashed PII for Tailored Advertising on all devices and shall be made available
                  on both the member's website and on the NAI website. If an NAI member uses types of PII or
                  hashed PII that are not supported by the NAI Opt-Out Mechanism, and are not linked to the
                  types of PII or hashed PII supported by the NAI Opt-Out Mechanism, the member shall
                  provide an Opt-Out Mechanism for such PII or hashed PII directly on the member's site.




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                      4.   User Control and Cross-Device Linking: While a user is opted out of Tailored Advertising by a
                           member, that member shall:

                           a.   Cease the collection of data for Tailored Advertising on the browser or device for which
                                the user has expressed their choice, for use on that or any other browser or device
                                associated through Cross-Device Linking; and

                           b. Cease Tailored Advertising or the browser or device for which the user has expressed
                              their choice, with any data collected from a browser or device associated through Cross-
                              Device Linking.

                      5.   When a user has opted out of Tailored Advertising, member companies may continue to
                           collect data for other purposes, including Ad Delivery and Reporting, unless noted otherwise
                           in the Code. However, any data collected by a member company from a browser or device
                           while that browser or device is opted out may not be used for Tailored Advertising regardless
                           of the future opt-out status of the browser or device, and regardless of the technologies used
                           by the member, absent Opt-In Co-rsent.

                      6.   The technologies that members use for Tailored Advertising purposes shall provide users
                           with an appropriate degree of transparency and control.

               D. USE LIMITATIONS
                      1.   Members shall not create Tailored Advertising segments specifically targeting children under
                           16 without obtaining verifiable parental consent.

                      2.   Members shall not use, or allow the use of, data collected as a result of Tailored Advertising or
                           Ad Delivery and Reporting for any non-marketing eligibility purposes, including:

                           a.   Employment Eligibility;

                           b. Credit Eligibility;

                           c.   Health Care Eligibility;

                           d. Insurance Eligibility and Underwriting and Pricing;

                           e.   Tenancy Eligibility; and

                           f.   Education Admissions.

                      3.   Members making material changes to their policies and practices regarding Tailored
                           Advertising shall obtain Opt-In Consent before applying such change to data collected prior
                           to the change. In the absence of Opt-In Consent, data collected prior to the material change
                           shall continue to be governed by the policy in effect at the time of its collection.




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         E TRANSFER RESTRICTIONS
            1.   Members shall contractually require that any unaffiliated parties to which they provide or make
                 available PII for Tailored Advertising or Ad Delivery and Reporting purposes adhere to
                 the provisions of this Code concerning PII, including notice, user control, access, downstream
                 transfer restrictions, and uses for non-marketing eligibility purposes. This requirement does
                 not apply if the PII is proprietary data of the receiving party.

            2. Members shall contractually require that all parties to which they provide or make available
               DII, collected as part of the member's Tailored Advertising and Ad Delivery and Reporting
               activities, not attempt to merge such DII with PII held by the receiving party or to otherwise
               re-identify the individual for Tailored Advertising purposes. This requirement does not apply
               if the DII is proprietary data of the receiving party, or if the receiving party provides the user
               with Robust Notice at the time of data collection, and/or obtains the user's Opt-In Consent as
               detailed in sections II.C.1.c-d above.

         F. DATA ACCESS. QUALITY, SECURITY. AND RETENTION
            1.   Members retaining Pll for Tailored Advertising purposes shall provide users with:

                 a.   Reasonable access to PII, and other information that is associated with PII, retained by the
                      member for Tailored Advertising purposes; and

                 b. An Opt-Out Mechanism through which users can choose to exclude their PII from
                    further Tailored Advertising, as required in section II.C.3 above, and additionally to
                    request that the member permanently delete information that is associated with the user's
                    PI] except for the user's opt-out preference.

            2.   Members shall conduct appropriate due diligence to help ensure that they obtain data used
                 for Tailored Advertising from responsible sources that provide users with appropriate levels
                 of notice and choice. As part of this due diligence process, members shall require partners
                 providing matching services for Audience-Matched Advertising to offer an Opt-Out
                 Mechanism linked to PII as described in section II.C.1.b above.

            3.   Members that collect, transfer, or store data for use in Tailored Advertising and Ad Delivery
                 and Reporting shall provide reasonable security measures to protect that data.

            4.   Members shall retain DII and PII collected for use in Tailored Advertising and Ad Delivery and
                 Reporting only as long as necessary for the purpose for which the data was collected, to fulfill
                 another legitimate business need, or as required by law.




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                 III. Accountability
                    A. MEMBER OBLIGATIONS
                       1. The Code is self-regulatory in nature but is binding on all members of the NAI.
                        2.   To help ensure compliance with the Code, each member company should designate at
                             least one individual with responsibility for managing the member's compliance with the
                             Code and providing training to relevant staff within the company.

                        3.   Membership in the NAI requires public representations that a member company's relevant
                             business practices adhere to the Code, as supplemented by applicable implementation
                             Guidance that may be adopted by the NAI Board of Directors from time to time. Such
                             representations involve explicit acknowledgement of NAI membership and adherence to
                             the Code in each member's publicly available privacy notice, and inclusion in a membership
                             listing of participating NAI companies on a designated page of the NAI website.

                    B. NAI OVERSIGHT
                        1.   Members are required to annually undergo reviews of their compliance with the Code
                             by NAI compliance staff or other NAI designees. Members shall fully cooperate with NAI
                             compliance staff and NAI designees, including in the course of annual compliance reviews,
                             and any investigation of a potential violation of the Code.

                        2.   Some members may choose to subject policies and procedures that are related to Tailored
                             Advertising or Ad Delivery and Reporting to review by NAI compliance staff or other NAI
                             designees, even when those policies and procedures are not directly covered by the Code.
                             In such instances, attestations and public-facing privacy disclosures by the member will
                             be included as part of the member's compliance review even if not directly covered by the
                             Code, and failure to comply with such attestations and disclosures may be subject to NAI
                             enforcement procedures.

                        3.   The NAI's policies and procedures for annual compliance reviews and compliance
                             investigations may be updated from time to time. These policies and procedures shall not
                             only describe the process undertaken for a compliance review, but these policies shall also
                             articulate the penalties that could be imposed for a finding of noncompliance, including
                             referral of the matter to appropriate regulatory agencies, such as the FTC. These policies and
                             procedures, including any updates or revisions, shall be made available on the NAI website.

                        4.   The NAI shall annually post on its website a report summarizing the compliance of its
                             members with the NAI Code, including any enforcement actions taken and a summary of the
                             complaints received.

                    C. USER COMPLAINTS
                        1.   The NAI website shall include a centralized mechanism to receive users' questions or
                             complaints relating to members' compliance with the Code.

                        2.   Each member shall provide a mechanism by which users can submit questions or concerns
                             about the company's collection and use of data for Tailored Advertising purposes, and
                             shall make reasonable efforts, in a timely manner, to respond to and resolve questions and
                             concerns that implicate the member company's compliance with the Code.
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      COMMENTARY TO THE 2020 NAI CODE OF CONDUCT
      The purpose of the commentary is not to add substantive obligations on member companies or to alter
      the principles set forth in the Code itself. Instead, the commentary's purpose is to explain the intent behind
      certain provisions of the Code. The commentary also provides examples of some possible measures
      member companies may take to meet the substantive obligations of the Code. Such examples are neither
      exclusive nor exhaustive.


      Definitions
      AUDIENCE-MATCHED ADVERTISING
      Audience-Matched Advertising is the practice of using data linked, or previously linked, to Personally-
      Identified Information (P11) for the purpose of tailoring advertising on unaffiliated web domains or
      applications, or on devices, based on preferences or interests known or inferred from such data. This
      data may be collected in an offline setting, such as when a user signs up to receive a catalog, or provides
      an email address at a physical retail outlet. This data may also be collected online through a retailer's
      website or application while a user is making a purchase, outside the context of Interest-Based Advertising
      or Cross-App Advertising. If such data is later used to tailor advertising on unaffiliated websites or
      applications, or on devices covered by the Code, it is Audience-Matched Advertising.

      This practice typically does not involve the use of Pll to target users. Rather, encrypted or hashed Pll
      is matched between an advertiser's customer record management (CRM) database and an online
      authentication point, or match partner, and only information or inferences regarding a user's interests or
      demographic information is linked to DII such as a cookie ID or mobile advertising ID.

      If Pll is not hashed before its use for Tailored Advertising, or if an NAI member intends to re-identify users
      after engaging in Audience-Matched Advertising, the NAI member would additionally need to provide
      Robust Notice at the point of Pll collection.

      An NAI member acting purely as a service provider to an advertiser client may continue to engage in
      Audience-Matched Advertising on behalf of that client, even in the presence of an opt out linked to
      a user's PII, if the user has permitted Audience-Matched Advertising by the client by providing Opt-In
      Consent directly to that client.

      INTEREST-BASED ADVERTISING AND CROSS-APP ADVERTISING
      Interest-Based Advertising and Cross-App Advertising are defined as the collection of data across web domains
      or applications, respectively, owned or operated by different entities for the purpose of delivering advertising
      based on preferences or interests known or inferred from the data collected. The FTC maintains the view that to
      treat domains or applications as owned or operated by the same entity, their corporate affiliation must be made
      clear to users by those entities.6 Further, Interest-Based Advertising has always been understood to include the
      collection of data about a computer or device's web viewing (or "click stream") behavior over time to place
      browsers into interest segments such as "car enthusiast." The same principle applies to data collection through
      applications on devices, as covered by Cross-App Advertising.




      6
      6   See
          See FTC Final Privacy
              FTC Final         Report, supra
                        Privacy Report,       note 4,
                                        supra note 4, at
                                                      at 42.
                                                         42.

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                 Consistent with the FTC's definition of "online behavioral advertising," and DAA's OBA Principles, the
                 definitions of Interest-Based Advertising and Cross-App Advertising do not include "contextual advertising!'
                 Contextual advertising means the ads are selected depending solely upon the content of the web page or
                 application on which they are served. Contextual advertising also covers "first party" marketing, in which ads are
                 customized or products are suggested based on the content of the site or application that the user is visiting at
                 that time (including the content viewed and the searches performed)?

                 TAILORED ADVERTISING
                 Tailored Advertising is a collective term for Interest-Based Advertising, Cross-App Advertising, Audience-
                 Matched Advertising, Viewed Content Advertising, and Retargeting, as well as any combination of these
                 activities. Consistent with the NAI's approach to classifying digital advertising activities based on the point
                 of data collection, data collected solely in a web browser is considered to be Interest-Based Advertising
                 if it results in digital advertising in any of the media covered by the Code, and data collected solely on a
                 television is considered Viewed Content Advertising under the same circumstances. The same principle
                 applies to Cross-App Advertising and solely app-based data, as well as Audience-Matched Advertising
                 and solely "offline" data.

                 On account of Cross-Device Linking, the NAI also recognizes that data collected in one medium can be
                 linked with other data from another medium. In such cases, the data use becomes Tailored Advertising
                 when used to target advertising through any medium covered by the Code. However, if data is based
                 solely on one source, the NAI will apply the Code requirements based on the source through which the
                 data was collected. As such, if only application-based data is used to target an ad on a television, it would
                 be considered as Cross-App Advertising. Conversely, if only Viewed Content Information is used to target
                 an ad on a mobile device, it would be considered Viewed Content Advertising. Tailored Advertising
                 does not include Ad Delivery and Reporting, unless the resulting data is later used to tailor advertising,
                 rendering it no longer Ad Delivery and Reporting.

                 Further, the NAI intends to cover any use of previously-collected user-level data to target a digital
                 advertisement, whether that data was originally collected by the member, a third-party, or an advertiser.
                 Thus, if an NAI member uses such data to participate in the tailoring of a digital advertisement in a
                 medium covered by the Code, even if not explicitly mentioned here, it is the NAI's intention that the NAI
                 member take steps to abide with all of the provisions herein as they apply to Tailored Advertising as a
                 means of "future-proofing" consumer notice and choice when it comes to such activities.

                     DII, AND DE-IDENTIFIED INFORMATION
                 As stated in the introduction to the Code, the Code divides data into three categories based on the
                 identifiers that it is tied to: Personally-Identified Information (HI), Device-Identified Information (DII), and
                 De-Identified Information.

                 The key distinction between the three categories is the type of identifier that the data is linked to:
                 • Data that is linked or intended to be linked to a directly identified individual is considered PII.
                 • Data that is linked or intended to be linked to a specific browser or device is considered DII.
                 • Data that is not linked or intended to be linked to either an individual or to a specific browser or
                     device is considered De-Identified Information.




                 7
                 7      See
                        See FTC   Final Privacy
                             FTC Final           Report, supra
                                        Privacy Report,        note 4,
                                                         supra note 4, at
                                                                       at 41;
                                                                          41; DAA
                                                                              DAA OBA
                                                                                   OBA Principles,   supra note
                                                                                         Principles, supra note 1,
                                                                                                                1, at 10-11 (defining
                                                                                                                   at 10-11 (defining OBA to exclude
                                                                                                                                      OBA to         first party
                                                                                                                                             exclude first party
                 activity,
                 activity, ad
                           ad delivery
                              delivery and
                                       and ad   reporting, and
                                            ad reporting,  and contextual
                                                               contextual advertising).
                                                                           advertising).

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      The NAI believes that it is appropriate for the Code to continue to encourage data minimization among
      its members for Tailored Advertising purposes. Accordingly, the Code continues to distinguish between
      PII and DII and to impose different notice and choice requirements for each, with the level of protection
      required increasing with the identifiability and sensitivity of the data.

      PII
      PII includes any information linked or intended to be linked to an identified individual, including name,
      address, telephone number, email address, financial account number, and government-issued identifier.
      In addition to the examples of PII enumerated in the definition, PII could include data derived from new
      technologies not currently in use for Tailored Advertising. For example, "faceprints" would be considered
      PII to the extent a company employed facial recognition technology for the purpose of identifying a
      unique individual.

      The Code requirements that apply to PII apply equally to any data or data sets tied to PH. For example,
      if demographic information (e.g., age, gender), which would typically be considered DII when linked to a
      browser or device, is attached to a name or email address, it would be treated as PII under the Code as
      a result of being attached to the aforementioned PH. Similarly, a cookie identifier or mobile advertising
      identifier, which would otherwise qualify as DII under the NAI Code, would be treated as PII if such an
      identifier is tied to PH, such as a name or email address.

      In shifting its terminology from Personally-Identifiable to Personally-Identified the NAI acknowledges
      that with enough time, effort, and resources many data points that are traditionally tied only to a device
      can likely be linked to an identifiable individual. Thus, the NAI definition of PII shifts away from what one
      may hypothetically do with the data and moves to address what a given company publicly pledges to do
      with the data. From the NAI's perspective, it is more helpful to users for members to disclose the types of
      data they collect, and how they use that data, than it is to provide a blanket statement that in theory, with
      enough resources, most data could be linked to a directly identified individual. The former approach allows
      users to make choices regarding whether to share data with an NAI member based on how a company
      promises to treat such data.

      Hashed PII such as an email address is not considered to be PII if used only in its one-way encrypted form as a
      means of linking devices for Cross-Device Linking or matching audiences for Audience-Matched Advertising,
      and if no data collected through Tailored Advertising is linked to an unencrypted or un-hashed form of the PH.

      DI!
      DII is defined as "data that is linked or intended to be linked to a particular browser or device." DII includes, but
      is not limited to, unique identifiers associated with users' computers or devices and IP addresses, where such
      identifiers or IP addresses are not linked to PII. Effectively, the use of DII enables NAI members to collect and
      use data in a pseudonymous manner by tying certain interests or inferences to a specific, but unknown, user. DII
      does not include De-Identified Information.

      Examples of how a member company may help ensure that the data it collects and uses for Tailored Advertising
      meets this standard may be to: (1) take measures to help ensure that the data it collects or receives is not used
      to identify a particular individual, such as using only randomly generated numeric identifiers rather than names
      ❑r other email addresses; (2) publicly commit to maintain the data as DII; and/or (3) take reasonable steps, such
      as contractual measures, to prevent any companies with which it shares the DII from attempting to merge the
      data with PII or otherwise using the data to identify a particular individual (unless the DII is proprietary to the
      receiving party) for Tailored Advertising purposes.



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                    De-Identified Information
                    The Code defines De-Identified Information as "data that is not linked, or intended to be linked to an
                    individual, browser, or device." Data would be considered "De-Identified Information" under the NAI
                    Code if a member were to take steps similar to those enumerated above with respect to DII, such as:
                    (1) taking reasonable steps to ensure that the data cannot reasonably be re-associated or connected or
                    associated with an individual or with a particular browser or device, such as by removing the unique user
                    identifiers (e.g., cookie identifier or IP address), or truncating such identifiers; (2) publicly committing to
                    maintain and use the data in a de-identified fashion and not attempting to re-associate the data with
                    an individual or with a particular browser or device; and/or (3) obtaining satisfactory assurance that
                    any other entity that receives the De-Identified Information will not attempt to reconstruct the data
                    in a way such that an individual or browser or device may be re-identified and will use or disclose the
                    De-Identified Information only for uses specified by the NAI member company. This process mirrors the
                    definition of "De-Identification Process" in the DAA's Multi-Site Data Principles.8

                    Under the definition of De-Identified Information, the NAI Code refers to both group data and certain
                    individual data. First, De-Identified Information includes what is commonly referred to as group or
                    aggregate data, such as monthly aggregate reports on an advertising campaign provided by members
                    to their clients. Aggregate data, or cross-sectional data, does not contain individual-level or device-level
                    information that can be tied back to a specific individual or device. For example, the overall conversion
                    rate for a campaign among young men in a specific state is considered De-Identified Information.

                    Second, De-Identified Information covers data that was once linked to an individual or device, which
                    has then gone through a process that reasonably removes the links to any specific individual or device.
                    For example, a member can remove or truncate identifiers (e.g., cookie identifiers, mobile advertising
                    identifiers, and IP addresses) so that the data will reflect that a unique browser or device visited certain
                    websites or applications, but the data will no longer be associated with a particular browser or device.

                    OPT-IN CONSENT
                    NAI members may obtain a user's Opt-In Consent through a direct interaction in which the NAI member
                    details the proposed uses for the data being collected, requiring the user to perform an affirmative action
                    as a manifestation of consent to the described use of the data.

                    Additionally, when NAI members are not in a position to interact directly with a user, they may obtain
                    reasonable assurances of Opt-In Consent by relying on a partner engaged in a first-party interaction
                    with the user to inform the user of the proposed uses of the data being collected as part of the consent
                    process. Some methods through which NAI members may obtain reasonable assurances of Opt-In
                    Consent are detailed below. If an NAI member wishes to rely on different means of obtaining reasonable
                    assurances, these should be cleared with NAI staff to help ensure compliance with the Code.

                    Those NAI members who have a direct technical integration with a website or application, such as through
                    a Software Development Kit (SDK), shall take steps to include such functionality that would enable the
                    website or application to provide just-in-time notice, such as through an interstitial page, prior to the use
                    of platform-provided consent mechanisms. These NAI members shall also take steps to contractually
                    require the website or application to provide just-in-time interstitial notice prior to the use of platform-
                    provided consent mechanisms or to provide more detailed messaging in the platform consent dialog itself
                    unless the website or application already provides such notice or messaging.



                    8
                    8   See DAA Multi-Site
                        See DAA Multi-Site Data
                                           Data Principles, supra note
                                                Principles, supra      1, at
                                                                  note 1,    8.
                                                                          at 8.

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      Those NAI members who do not have a direct technical integration with a website or application, but do
      have a direct contractual relationship with a website or application, shall take steps to contractually require
      that website or application to provide just-in-time interstitial notice prior to the use of platform-provided
      consent mechanisms or to provide more detailed messaging in the consent dialog itself.

      Those NAI members who do not have a direct contractual relationship or a direct technical integration
      with a website or application, and instead receive data via third-party intermediaries, including through bid
      requests, shall take steps to ensure that the third party, in turn, contractually requires its partner websites
      ❑r applications to provide just-in-time interstitial notice prior to the use of platform-provided consent
      mechanisms or to provide more detailed messaging in the consent dialog itself.

      When relying on contractual measures to ensure that additional notice is provided to users at the time of
      consent, NAI members shall take reasonable steps to confirm that such notice is provided. This may be
      accomplished by reviewing all or a representative sample of websites and/or applications from which the
      member receives the type of data in question.

      PRECISE LOCATION INFORMATION
      The definition of Precise Location Information is meant to recognize that a range of technologies may be
      able to provide members, "with reasonable specificity," the actual physical location of a user or device.
      Please consult the NAI's Guidance for NAI Members: Determining Whether Location is Imprecise for an
      in-depth analysis of how members may determine the precision of geolocation information.9

      Accordingly, the definition of Precise Location Information is intended to exclude more general location
      data, such as postal code, city, or neighborhood, whether that location data is derived from an IP address
      ❑r other sources.1p

      The definition of Precise Location Information also does not include location data that has been altered
      prior to its provision for use in Tailored Advertising or Ad Delivery and Reporting, so that a member
      is unable to determine with reasonable specificity the actual physical location of a user or device. For
      example, a member will not be deemed to be using Precise Location Information as defined by the Code
      if the member removes a sufficient number of decimals from a device's latitude/longitude coordinates from
      the location data it receives before using the data for Tailored Advertising or Ad Delivery and Reporting.
      Importantly, using Precise Location Information in real-time, such as in geo-fencing, requires Opt-In
      Consent or Reasonable Assurances that an application or website has obtained such consent on behalf of
      the member, unless the data has been rendered imprecise prior to its use. Precise Location Information
      only includes information that describes an actual physical location. As such, if a member converts a
      precise location (e.g. a specific coffee shop at a specific street address) to a general category (e.g. coffee
      shop), the resulting information is not covered by the definition of Precise Location Information.




      9
      9    See
           See Guidance    for NAI
                 Guidance for  NAI Members:
                                   Members: Determining   Whether Location
                                              Determining Whether Location is Imprecise, available
                                                                           is Imprecise, available at https://www.networkadvertising.org/sites/
                                                                                                   at https://www.networkadvertising.org/sites/
      default/files/nai_impreciselocation.pdf.
      default/files/nai_impreciselocation.pdf.
      10
      10   These examples
           These examples are
                          are provided
                              provided in
                                       in this Code for
                                          this Code for illustrative
                                                        illustrative purposes
                                                                     purposes only.
                                                                              only.

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                 RETARGETING
                 The Code defines Retargeting as the practice of collecting data about a users activity on a single web
                 domain or application for the purpose of delivering an advertisement based on that data on a different,
                 unaffiliated web domain or application. An example of Retargeting is the delivery of an advertisement for
                 a product or service that a user previously viewed on an unrelated web domain or application, without
                 necessarily placing that user in an interest segment. The NAI recognizes that Retargeting is a separate
                 and distinct business practice from Interest-Based Advertising and Cross-App Advertising because the
                 advertisement may be selected based on activity on a single web domain or application and the user
                 may not necessarily be included in an interest segment based on activity on multiple web domains or
                 applications. Code requirements and obligations for Interest-Based Advertising or Cross-App Advertising
                 apply equally to Retargeting."

                 ROBUST NOTICE
                 NAI members are required to provide Robust Notice when using PII, or merging PII with III collected on
                 unaffiliated websites or applications, or from covered devices, for Tailored Advertising purposes on a going-
                 forward basis.

                 Such notice must be clear and conspicuous, which may vary with the complexity and style of the web page,
                 application, or interface, as well as the size of the screen on which the notice must appear. Robust Notice
                 must be provided at the time and place of the initial collection of data for Tailored Advertising. The notice
                 must be located directly adjacent to the PH entry field or submit button. For online data collection, Robust
                 Notice is only valid when the user engages a submit button or otherwise affirmatively confirms that they
                 wish to submit the data to the recipient. Consequently, a user's email address may only be collected for the
                 given purposes if that user has clicked on a submit button, rather than simply entering the email address in
                 a given field and not having indicated an intention to submit such data.

                 Robust Notice shall disclose the intended use of the data, including merger with other data collected
                 on unaffiliated websites, or applications, or on covered devices, for Tailored Advertising purposes. If the
                 data is to be collected or used on multiple devices for Tailored Advertising, the notice must also disclose
                 Cross-Device Linking.

                 The content of the notice may vary based on the nature of the collected data and its uses. When collecting
                 data directly from a user, an advertiser relying on an NAI member strictly as a service provider for Tailored
                 Advertising purposes on behalf of that advertiser, may inform the user that the data will be used in
                 accordance with the advertiser's terms of service or privacy policy. However, if collecting data from a user
                 that will be shared with third parties who may retain individual rights to such data for their own Tailored
                 Advertising purposes, Robust Notice shall also include additional details regarding the sharing practices
                 and uses permitted by the party collecting the data. The NAI will provide "mock-ups" on its website to
                 further clarify expectations for the location and content of Robust Notice.




                 11
                 11   The DAA
                      The DAA Online
                               Online Interest-Based   Advertising Accountability
                                      Interest-Based Advertising     Accountability Program  has also
                                                                                    Program has  also indicated  that it
                                                                                                      indicated that   it considers
                                                                                                                          considers Retargeting to be
                                                                                                                                    Retargeting to be covered
                                                                                                                                                      covered
                 by the DAA
                 by the     Self-Regulatory Principles
                        DAA Self-Regulatory             for Online
                                            Principles for  Online Behavioral  Advertising (DAA
                                                                    Behavioral Advertising (DAA OBA     Principles). See
                                                                                                 OBA Principles).          Formal Review
                                                                                                                     See Formal   Review of
                                                                                                                                         of 23andMe,
                                                                                                                                            23andMe, Inc.,
                                                                                                                                                       Inc.,
                 Case
                 Case Number  30-2013 (2013)
                       Number 30-2013  (2013) available
                                              available at  http://www.bbb.org/us/storage/113/Documents/23andMe-Decision-20131115.pdf.
                                                         at http://www.bbb.org/us/storage/113/Documents/23andMe-Decision-20131115.pdf.

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      SENSITIVE INFORMATION
      Health
      The definition of Sensitive Information includes two categories of health-related data: (1) data about a
      health condition or treatment derived from a sensitive source and (2) data about certain sensitive conditions
      regardless of the source of the data. The collection and use of Sensitive Information for Tailored Advertising
      ❑r Ad Delivery and Reporting requires Opt-In Consent from users.

      First, Sensitive Information includes information about any past, present or potential future health or medical
      conditions or treatments, including genetic, genomic, and family medical history, based on, obtained, or
      derived from a patient's medical records, pharmaceutical prescriptions or similar sources from a health care
      provider that impart actual knowledge of a condition or treatment. It is the use of information based on
      actual knowledge of a health or medical condition or treatment from a patient's medical records for Tailored
      Advertising or Ad Delivery and Reporting that triggers the requirement for Opt-In Consent, regardless of
      which health or medical condition the segment references.

      Second, Tailored Advertising (whether through "standard" interest segments, custom segments, or
      Retargeting) or Ad Delivery and Reporting based on an inferred interest in sensitive health conditions
      requires a user's Opt-In Consent. It is often difficult to draw bright lines between "sensitive" and "non-
      sensitive" information in the health space because whether a particular condition is considered sensitive may
      depend on the affected user and a number of subjective considerations.

      In recognition of this subjectivity, and following questions and commentary provided in response to
      prior drafts of the Code, the NAI has not developed an exhaustive list of conditions or treatments that it
      considers to be "sensitive." Rather, the NAI provides its member companies with a number of factors to
      consider when determining whether a particular condition or treatment is "sensitive."i2 The factors include:
      the seriousness of the condition, how narrowly the condition is defined, its prevalence, whether it is
      something that an average person would consider to be particularly private in nature, whether it is treated
      by over-the-counter or prescription medications, and whether it can be treated by modifications in lifestyle
      as opposed to medical intervention.

      Under this analysis, sensitive health segments, which require Opt-In Consent under the Code, include, but
      are not limited to, categories such as: drug addiction, all sexually transmitted diseases (such as AIDS, HIV,
      HPV), all types of mental health conditions (such as generalized anxiety disorder, schizophrenia, Alzheimer's,
      depression, anorexia/bulimia), pregnancy termination, all conditions predominantly affecting or associated
      with children that are not treated by over-the-counter medications, as well as cancer. In contrast, the
                                                                                                                                              NAI
      considers many conditions such as acne, allergies, dental, vision, heartburn, cold and flu, sinus, headache,
      back pain, first aid, sore throat, and cholesterol or blood sugar management, to be general wellness topics
      that do not require Opt-In Consent. Similarly, interest in diet, nutrition, exercise, beauty, hair removal, health
      and fitness, as well as vitamins and supplements, typically do not qualify as "sensitive" under the Code, and
      thus do not require Opt-In Consent. Finally, more general segments such as men's health, women's health,
      senior health needs, or children's health also do not meet the criteria for Opt-In Consent under the Code.




      12
      12   These requirements
           These  requirements apply
                                 apply only  to the
                                        only to the extent member companies
                                                    extent member    companies areare collecting
                                                                                      collecting data  to associate
                                                                                                 data to  associate users with presumed
                                                                                                                    users with presumed interests.    They
                                                                                                                                           interests. They
      do not apply
      do not       to members'
             apply to members’ services
                                  services that
                                           that do  not require
                                                do not  require tagging
                                                                tagging users’
                                                                        users' browsers
                                                                                browsers oror devices, such as
                                                                                              devices, such  as categorizing
                                                                                                                categorizing websites
                                                                                                                             websites or
                                                                                                                                       or applications
                                                                                                                                          applications
      associated
      associated with
                 with particular
                      particular conditions
                                 conditions or  treatments so
                                             or treatments  so that
                                                               that advertisers
                                                                    advertisers can
                                                                                can serve
                                                                                     serve contextual
                                                                                            contextual advertising
                                                                                                        advertising on those sites
                                                                                                                    on those sites or
                                                                                                                                   or applications.
                                                                                                                                      applications.

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                    The NAI acknowledges that these are subjective considerations and that no one factor is determinative.
                    Therefore, any member company that conducts a reasonable analysis of a health condition and determines
                    that it does not meet the factors of a sensitive health segment will not be in violation of the Code even if
                    other stakeholders, including, but not limited to, the NAI compliance team, arrive at a different conclusion.
                    However, a member may be asked to change its practice with respect to Tailored Advertising or Ad Delivery
                    and Reporting involving a sensitive health condition that NAI staff determines meets the criteria outlined
                    here, subject to all procedures and rights of appeal under the NAI Sanction Procedures.

                    As with any subjective category, there will be certain conditions that do not clearly fall on either side of the
                    line of "sensitive." For that reason, the NAI Code also requires members to publicly disclose the interest
                    segments they use for Tailored Advertising that are related to health conditions or treatments, even if those
                    segments are not precise or sensitive (see the discussion of Health Transparency obligation, infra p. 26).

                    These restrictions are not intended to apply to interest segments designed for fundraising and similar non-
                    profit uses, so long as those segments are not based on inferences that a user is likely to have a particular
                    condition, but rather that users are likely to donate to charitable causes such as medical research or medical
                    facilities. Such segments may not be used to target advertising for treatments or medications.

                    Similarly, Tailored Advertising aimed at medical professionals who may specialize in the treatment of sensitive
                    conditions does not require a user's Opt-In Consent as no inference is made that such a user may have a
                    sensitive condition.

                    Restrictions on the use of Sensitive Information for Ad Delivery and Reporting are not intended to limit
                    contextual advertising campaigns on websites or applications that address sensitive topics or general
                    measurement and reporting regarding such campaigns. Rather, NAI members must obtain a user's Opt-In
                    Consent in order to use audience segments involving Sensitive Information for reporting purposes, as well as
                    to target users at potentially sensitive locations, such as abortion clinics or LGBT clubs, using real-time Precise
                    Location Information.

                    Sexual Orientation
                    The Code prohibits companies from collecting or storing information, including inferences, about a user's
                    status or perceived status as gay, lesbian, bisexual, transgendered, or gender non-conforming, for Tailored
                    Advertising or Ad Delivery and Reporting without obtaining Opt-In Consent. The Code does not intend to
                    prohibit targeting based on visits to generalized dating websites, wedding registries, services for couples
                    (such as travel), or similar content. The intent of the Code is to prohibit the creation of interest segments
                    such as "gay male" or "LGBT" as well as the Retargeting of visitors to sites that reflect the user's sexual
                    orientation, such as dating or travel sites targeted specifically to LGBT visitors without affirmative Opt-In
                    Consent. While advertising on such websites and to the LGBT community is valuable, this policy recognizes
                    that LGBT status may be considered "sensitive" in some contexts, and thus that Opt-In Consent shall be
                    obtained before using such data for Tailored Advertising or Ad Delivery and Reporting.

                    These restrictions are not intended to apply to interest segments designed for political causes, so long as
                    those segments are not based on inferences that a user's status is gay, lesbian, bisexual, transgendered, or
                    gender non-conforming, but rather that the user is likely to vote in favor of or support LGBT-related political
                    causes. Such segments may not be used to target advertising for LGBT products, services, or websites.




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      SENSOR INFORMATION
      Sensor Information is defined to include information from a camera, microphone, or any sensor on a user's
      device that may collect biometric data from such device. NAI members using Sensor Information such as
      from a microphone or camera for Tailored Advertising or Ad Delivery and Reporting must obtain the user's
      Opt-In Consent.

      However, restrictions on the use of Sensor Information do not include information such as accelerometer
      data that is used to determine the status of the device, for example whether it is lying with the screen down
      on a table, or in combination with barometric pressure and/or Precise Location Information to determine the
      device's location inside large structures.

      VIEWED CONTENT INFORMATION AND VIEWED CONTENT ADVERTISING
      Viewed Content Information is intended to refer to videos, titles, programs, or similar content viewed on a
      television. Identifying viewed content based on non-visual information, such as HTTP headers, URLs, or audio
      is included in this definition. Viewed Content Information refers to video, rather than static images, and does
      not extend to all internet-connected history. This means that Viewed Content Information includes videos,
      titles, programs, or similar content viewed on a television, but does not cover web-browsing data collected
      on a television. This approach is consistent with the NAI's treatment of web browser data on mobile devices,
      which falls under Interest-Based Advertising rather than Cross-App Advertising.

      Viewed Content Advertising is a subset of Tailored Advertising and describes the activity of tailoring
      advertisements for particular televisions, households, browsers, or devices based on Viewed Content
      Information. Collection of all, or substantially all, Viewed Content Information from a television, such as
      through automated content recognition technology, requires a user's Opt-In Consent.


      Member Requirements
      EDUCATION (§ II.A)
      Members shall use reasonable efforts to ensure that users are aware of Tailored Advertising, its benefits,
      and how data is collected and used for these purposes. In addition, members shall ensure that users are
      aware of NAI-supported choice mechanisms and have easy access to such mechanisms. Participation
      in NAI-commissioned Public Service Announcement campaigns through inventory donation, creative
      resource allocation, or other means can help members comply with this Code requirement.

      Members may also fulfill this requirement by speaking at industry events, providing privacy-related
      information on publicly available websites, or contributing articles and blog posts to enhance awareness of
      Tailored Advertising practices and the choices available to users.

      MEMBER-PROVIDED NOTICE (§ 111-1)
      Section II.B.1 of the NAI Code requires members to provide clear, meaningful, and prominent notice
      concerning their data collection practices. This requirement is not limited to Tailored Advertising, and
      applies equally to Ad Delivery and Reporting. Some steps that members can take to ensure that their
      notice is "prominent" is to provide conspicuous links to their consumer-facing disclosures, such as obvious
      links to privacy policies, as well as "consumer information" links, and/or independent links to Opt-Out
      Mechanisms or instructions for opting out on covered devices. Links to privacy policies and other consumer-
      facing materials (such as an opt-out page) should be in a location that is easy for users to locate, in an
      appropriately sized font, and in a color that does not blend in with the background of the page.


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                 To meet the "clear and meaningful" requirement, the notice should describe the member company's data
                 collection and use practices in an understandable manner. The notice should also accurately reflect the
                 member company's data collection and use practices. When providing data retention disclosures, members
                 must approximate a finite timeframe for such re:ention of Pll and DII, before the data is aggregated or
                 otherwise de-identified. Members that obtain data from third parties for purposes of supplementing user
                 profiles should disclose such data collection and how the data is used for Tailored Advertising purposes.

                 Members should also describe their data collection and use practices in as clear and concise a manner as
                 possible. Members are also required to disclose the technologies they use for Tailored Advertising and Ad
                 Delivery and Reporting, including Cross-Device Linking. Member companies are not required to disclose
                 the technologies they use with a level of specificity that would reveal their proprietary business models.

                 Members collecting Viewed Content Information directly from televisions for Tailored Advertising or Ad
                 Delivery and Reporting should disclose this in their notice, along with words such as "television," "TV," or
                 similar terms, as appropriate.

                 The NAI recognizes that members face conflicting views regarding what to include in privacy policies. They
                 must balance the pressure to provide more detailed disclosures with countervailing pressures for simplified
                 privacy statements that are concise and readable. The NAI agrees that it is important to strike this balance.
                 Consequently, it is the NAI's position that a member's notice should generally disclose its data collection, use,
                 and retention practices. The Code sets forth the disclosures the NAI expects in a member's privacy policy or
                 privacy disclosure. Additionally, during annual compliance reviews, or at a member's request, NAI staff evaluates
                 the member's privacy policy to help ensure that it complies with Code requirements and may recommend best
                 practices consistent with the Code. The NAI will work with members to standardize categories of data collected
                 for Tailored Advertising if the disclosure of such categories may be required by state or federal law.

                 HEALTH TRANSPARENCY REQUIREMENT (§ II.B.2)
                 The health transparency requirement is intended to capture those interest segments for which Opt-In
                 Consent is not required under Section II.C.1.e of the Code, but nevertheless may factor into a user's decision
                 about whether to opt out of Tailored Advertising by a particular member company. For example, member
                 companies may seek to target users on the basis of general health categories such as headaches, allergies, or
                 diet and fitness that would not amount to Sensit ve Information that requires Opt-In Consent. Nonetheless,
                 the use of such standard segments requires disc osure under the transparency requirements. The disclosure
                 may be in, or linked from, the member's privacy policy, in other consumer-facing materials, such as a
                 preference manager, or in another location on the member's website that is reasonably easy for users to
                 find. In addition to disclosing a list of any standard interest segments that are related to health conditions or
                 treatments, members are expected to have internal policies governing any use of health-related targeting.

                 Many NAI members do not use standard interest segments, but may engage in Retargeting or the
                 creation of "custom" segments. In such cases, members shall disclose a representative sample of their
                 health-related custom segments and Retargeting activities, or otherwise explain their use of health-related
                 information for Tailored Advertising.

                 Members using both standard and custom interest segments shall provide a full list of all standard
                 segments and a representative sample of custom segments.

                 NAI member companies using health-related irterest segments created exclusively with Opt-In Consent
                 from users are not obligated to disclose such segments under the Health-Transparency requirement, as the
                 segments are disclosed to users at the time consent is obtained.

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      POLITICAL TRANSPARENCY REQUIREMENT (§ II.B.3)
      The political transparency requirement is intended to address the shifting landscape and public perception
      regarding political advertising. The NAI acknowledges that political advertising may factor into a user's
      decision about whether to opt out of Tailored Advertising by a particular member company. Member
      companies may seek to target users on the basis of general political sentiment, interest in specific political
      issues, or political party affiliation. The use of such standard segments requires disclosure under these
      transparency requirements. The disclosure may be in, or linked from, the member's privacy policy, in other
      consumer-facing materials, such as a preference manager, or in another location on the member's website
      that is reasonably easy for users to find. In addition to disclosing a list of any standard interest segments that
      are related to political interests or proclivities, members are expected to have internal policies governing
      any use of politically-related targeting. This requirement is not intended to capture all politically-related
      advertising, as sometimes non-political interests or affinities can be used as proxies for political sentiment. It
      is not the NAI's intention for members to list any segment that could potentially lead to an inference about
      the user's political views, such as "vegetarian," "gun owner," "or import car owner." Rather, the NAl intends
      for its members to disclose direct political segments such as "Democrat," "Republican," or "Pro-Choice."

      Many NAI members do not use standard interest segments, but may engage in Retargeting or the creation
      of "custom" segments. In such cases, members shall instead disclose a representative sample of their
      politically-related custom segments and Retargeting activities, or otherwise explain their use of politically-
      related information for Tailored Advertising.

      Members using both standard and custom interest segments shall provide a full list of all standard
      segments and a representative sample of custom segments.

      WEBSITE AND APP STORE NOTICE 4§ II.B.4-8)
      Contractual Notice Requirements (§11.6.4-6)
      If an NAI member company has a direct contractual relationship with a website or application where it
      conducts Tailored Advertising, it shall take steps to contractually require the website or application to post
      notice of Tailored Advertising and a link to, or instructions for, accessing an Opt-Out Mechanism.1t The steps
      may comprise the inclusion of these requirements in contracts, terms of service, and insertion orders, as well
      as negotiation with partners to help ensure that such notice is provided even in the absence of contractual
      requirements. The notice should be provided in a privacy policy, app store, or separate footer link, such as
      "About Our Ads." In a mobile application environment, this provision of the Code is intended to help ensure, to
      the extent practicable, that users are provided notice of Tailored Advertising prior to acquiring an application,
      recognizing that members are generally unable to provide such notice themselves, because they do not control
      the application or the app store. On televisions, such notice should be provided on the screen or user interface
      most appropriate in this context.

      Members should use reasonable efforts to enforce contractual notice provisions, and to evaluate whether
      notice is provided even in the absence of a contractual requirement to provide such notice. Members should
      seek to ensure that notice is provided where they collect data. For example, members may regularly check a




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                reasonably-sized sample of the websites and applications where they conduct Tailored Advertising to ensure
                that the websites and applications provide appropriate notice, following up with those that do not.14

                Enhanced Notice Requirement (S II.B.8)
                The Code requires members to "provide, or support the provision or implementation of" notice in or
                around the ads they serve. The NAI expects that members who lack the ability to include the standard
                industry icon or other form of enhanced notice on ads will nevertheless support the provision of such
                notice by configuring their systems to support that capability. For instance, some members do not collect
                data but facilitate the collection of data by their clients for Tailored Advertising through their platform.
                These members may provide their clients with the ability to include this notice on their advertisements
                through platform settings. Notice in or around an advertisement is not necessary if the notice of Tailored
                Advertising is provided outside of the privacy policy or the terms of service of a webpage where the
                advertisement is served.

                Because NAI members also adhere to the DAA Principles,'' the NAI expects them to follow DAA guidance
                regarding specific applications of enhanced notice, including that relating to targeted political advertising.'6

                The NAI recognizes that the provision of enhanced notice may not be possible in all media and
                environments, and that a framework for enhanced notice may not be available due to technical challenges,
                such as ad formats used by publishers that do not allow for external links. The NAI only intends to enforce
                the enhanced notice requirement when and where it is possible for a member to provide or support such
                notice. At the time of publication of this Code, the NAI will not enforce enhanced notice requirements
                with regard to Viewed Content Advertising as a framework does not yet exist for such notice directly on
                television sets.

                In addition, if a publisher or advertiser asks an NAI member to conduct a campaign informed by Tailored
                Advertising without enhanced notice in a medium where such notice is typically provided, the NAI member
                should decline to conduct the campaign. Finally, the NAI will continue to work with DAA and DAA member
                organizations to educate advertisers and publishers on the requirements of the DAA program.

                USER CONTROL (§
                Provision of Choice Mechanisms IS fl.C.1)
                The Code requires members to provide an Opt-Out Mechanism for users wishing to exercise choice
                regarding the collection and use of DII for Tailored Advertising purposes. The Code also requires that
                members obtain Opt-ln Consent for the collection and use of Precise Location Information, Sensitive
                Information, Sensor Information, and Personal Directory Information for Tailored Advertising and Ad
                Delivery and Reporting, as well as for the collection of all, or substantially all, Viewed Content Information
                from a television. For the use of Pll or its merger with DII for Tailored Advertising purposes, the Code
                requires the provision of an Opt-Out Mechanism tied to such PH, coupled with Robust Notice.



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                      See DAA
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                              OBA Principles, supra note
                                  Principles, supra note 1.
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      Choices Regarding Use of PH or Hashed PH for Tailored Advertising (§ II.C.3)
      Members who use Pll or hashed Pll for Tailored Advertising, alone or in conjunction with DII, must provide
      a PH-based Opt-Out Mechanism for such use of the data.

      An Opt-Out Mechanism for a member's use of Pll or hashed Pll shall apply to the member's use of that
      Pll or hashed Pll for Tailored Advertising on all browsers, applications, and devices and shall be made
      available on both the member's website and on the NAI website. If an NAI member uses types of Pll or
      hashed Pll that are not supported by the NAI Opt-Out Mechanism, and are not linked to the types of Pll or
      hashed Pll supported by the NAI Opt-Out Mechanism, the member shall provide an Opt-Out Mechanism
      for such Pll or hashed Pll directly on the member's site. Pll or hashed Pll collected through such an Opt-Out
      Mechanism may only be used by the member to maintain the user's opt-out preference.

      NAI members employing the services of a third party for the matching process of Audience-Matched
      Advertising must also contractually require the third-party service provider to offer an Opt-Out Mechanism
      linked to PII,

      If Pll is not hashed before its use for Tailored Advertising, or if an NAI member intends to re-identify users
      after engaging in Audience-Matched Advertising, the NAI member would additionally need to provide
      Robust Notice at the point of Pll collection.

      An NAI member acting purely as a service provider to an advertiser client, who does not retain any
      individual rights to the data processed on behalf of the client, may continue to engage in Audience-
      Matched Advertising on behalf of that client, even in the presence of an ❑pt out linked to a user's PII, if the
      client contractually represents that the user has permitted Audience-Matched Advertising by providing
      Opt-In Consent directly to that client.

      Choices Regarding Cross-Device Linking (§
      In 2017 the NAI published, and began enforcement of, its Guidance regarding Cross-Device Linking.17
      This document clarifies that Code requirements apply to Cross-Device Linking and instructs members how
      to provide notice and choice for such technology. While a browser or device is opted out from Tailored
      Advertising by a member company, the member shall effectively remove that browser or device from a
      device "map" for Tailored Advertising purposes and shall cease collecting data on the browser or device
      for Tailored Advertising use on any browser or device known or inferred to be linked to the opted-out
      browser or device. Similarly, the member shall cease Tailored Advertising on the opted-out browser or
      device with data from any browser or device known or inferred to be linked to that browser or device.
      These requirements are in addition to any other Code requirements regarding Tailored Advertising or Ad
      Delivery and Reporting on a given browser or device. Members may continue to engage in Cross-Device
      Linking for Ad Delivery and Reporting purposes, such as attribution.

      Honoring Opt-Out Choices (§
      Following an opt out, member companies must cease collecting and using data for Tailored Advertising
      purposes for that browser or device. Member companies may, however, continue to collect data for other
      purposes, such as Ad Delivery and Reporting. Any data collected while a browser or device is opted
      ❑ut may not be used for Tailored Advertising purposes, regardless of the future opt-out status of the
      browser or device, or the technology used for Tailored Advertising. For example, if a user opts out of
      Tailored Advertising on a browser, but a month later deletes the opt out cookie. Under the Code, any data


      17
      17  See
           See Guidance for NAI
               Guidance for NAI Members:
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                                         Cross-Device Linking,
                                                      Linking, available
                                                               available at https://www.networkadvertising.org/pdfs/NAI_Cross_Device_
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      Guidance.pdf.
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                    collected by the member company on the opted out browser during the month the browser was opted out
                    may not be used for Tailored Advertising, even after the opt-out choice is deleted. Of course, a user may
                    always choose to have such data used for Tailored Advertising by providing the member company with
                    express, affirmative consent.

                    Further, in a web environment, if an opt-out cookie is set on a browser, the Code envisions that members
                    must cease the collection and use of data for Tailored Advertising purposes not only with cookies, but also
                    with any other technology used by the member for Tailored Advertising on that browser. Similarly, any data
                    collected while a browser is opted out, regardless of the member's Tailored Advertising technology, may
                    not be used for Tailored Advertising purposes.

                    While members may continue to collect and use data for purposes other than Tailored Advertising
                    following an opt out, their Opt-Out Mechanisms must be consistent with the representations they make
                    to users and to NAI staff. The NAI works with each member company during the membership application
                    and annual review processes to ensure that its Opt-Out Mechanism, at a minimum, results in the cessation
                    of Tailored Advertising for the applicable browser or device. While the NAI is working to expand the
                    scope of its Code, some responsible actors, with business models that are related to Tailored Advertising,
                    have voluntarily gone through the NAI compliance review process and have agreed to honor and apply
                    NAI standards even to practices that do not fall squarely under the Code. In such cases, the NAI expects
                    a member's Opt-Out Mechanism to be consistent with the representations made to NAI staff and will
                    hold members accountable for their representations through the NAI's Compliance and Enforcement
                    Procedures even if the opt-out may otherwise comply with NAI Code requirements.

                    Technologies Used for Tailored Advertising (§ II.C.6)
                    The NAI recognizes that new business models are in development and that technologies are evolving
                    rapidly. As part of that process, NAI seeks to ensure that, with their inevitable adoption in the marketplace,
                    new business models and technologies are implemented by NAI members in a manner that is consistent
                    with the core requirements of the NAI Code and the spirit of the Fair Information Practice Principles.'8
                    The NAI intends to remain technology-neutral while helping to ensure the overall health of the digital
                    advertising ecosystem. In order to address the use of new technologies in a web environment the NAI
                    published its Guidance on the use of Non-Cookie Technologies for Interest-Based Advertising, which it
                    began enforcing in 2017.19

                    As NAI members develop new business models utilizing non-cookie technology, NAI urges that they
                    seek to implement these business models with the principles of the NAI Code in mind. The NAI strives to
                    provide a means through which its members may provide a robust and lasting Opt-Out Mechanism but
                    recognizes that such an endeavor can be challenging due to evolving cookie controls instituted by some
                    browser manufacturers, which can make it difficult for a persistent opt out to be placed on a browser. The
                    NAI will be transparent about the evolution of its guidance on non-cookie technology for Interest-Based
                    Advertising with all members, as well as regulators, policy makers, and other interested stakeholders.




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                    privacy-online-report-congress/priv-23a.pdf; see see also
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                    19    See
                          See Guidance for NAI
                              Guidance for NAI Members:
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                    https://www.networkadvertising.org/sites/default/files/NAI_BeyondCookies_NL.pdf.
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      115E LIMITATIONS (§ 11.0)
      Children (§ II.D.1)
      The Code prohibits member companies from creating segments for Tailored Advertising specifically
      targeted to children under 16 without obtaining verifiable parental consent. NAI member companies must
      also comply with the FTC's Children's Online Privacy Protection Act (COPPA) rules, as such rules may be
      updated from time to time.

      Prohibited Uses 011.0.21
      The NAI's prohibition of the use of data collected for Tailored Advertising and Ad Delivery and Reporting
      for eligibility decisions is consistent with the White House's "Respect for Context" principle. This principle
      states that consumers have a right to expect that companies will collect, use, and disclose personal data in
      ways that are consistent with the context in which the data was provided.20 Users are made aware, through
      in-ad notice and privacy policies of website and application publishers, that data is collected for the
      purpose of providing more relevant ads. The use of such data for purposes other than marketing, including
      any insurance, health, credit, employment eligibility, education eligibility, or tenancy decisions, would be
      inconsistent with that context. These use limitations are not intended to prohibit the use of data for the
      common good, including purposes such as the provision of Amber Alerts or severe weather alerts, and
      the provision of limited data sets to the scientific community to enhance data models used for evacuation
      planning or city transportation planning.

      Material Changes (§
      Generally, a "material" change for purposes of this provision will relate to the collection or use of Pll for
      Tailored Advertising purposes or the merger of DII with Pll when a member previously represented that
      it does not engage in these activities. Under the Code, changes are not considered "material" for the
      purposes of this provision if they result in less collection or use of data, or when a company changes its
      disclosures to provide greater transparency about its existing practices. The NAI encourages its members
      to innovate and provide increased transparency around their data collection and use practices.

      TRANSFER RESTRICTIONS (§
      The Code places limitations on the transfer of data collected across non-affiliate websites or applications
      for Tailored Advertising purposes to unaffiliated third parties. These are extensions of the requirements
      set forth above for data to be treated as DII rather than PII under the Code. For instance, under the
      Code, members maintain the DII status of data by contractually requiring that all parties to whom they
      provide DII collected across web domains or applications owned or operated by different entities not
      attempt, for Tailored Advertising purposes, to merge such DII with Pll held by the receiving party without
      obtaining the user's Opt-In Consent (unless the DII is proprietary to the receiving party). Members can
      also impose technical measures to help prevent the receiving party from engaging in such activities. For
      example, members that pass user-level data to third parties may encrypt potential identifiers to prevent
      impermissible uses by the recipients. These restrictions do not apply when the NAI member is acting as a
      service provider for a single party and the data transferred is proprietary to that party.




      20
      20    See  White House
            See White   House Privacy   Report, supra
                                Privacy Report,        note 4,
                                                 supra note 4, at
                                                               at 18
                                                                  18 (encouraging
                                                                     (encouraging companies
                                                                                     companies engaged
                                                                                                  engaged in
                                                                                                           in online
                                                                                                              online advertising to refrain
                                                                                                                     advertising to refrain from
                                                                                                                                            from
      collecting,
      collecting, using,
                  using, or
                         or disclosing
                            disclosing data  that may
                                        data that may be
                                                       be used  to make
                                                          used to  make decisions    regarding employment,
                                                                           decisions regarding   employment, credit,
                                                                                                               credit, and
                                                                                                                       and insurance
                                                                                                                           insurance eligibility
                                                                                                                                      eligibility or similar
                                                                                                                                                  or similar
      matters that
      matters  that may
                    may have
                         have significant
                               significant adverse
                                           adverse consequences
                                                    consequences to to consumers
                                                                       consumers and     noting that
                                                                                    and noting  that such
                                                                                                     such uses
                                                                                                          uses are
                                                                                                               are at
                                                                                                                   at odds  with generating
                                                                                                                       odds with               revenue
                                                                                                                                 generating revenue
      and
      and providing
           providing consumers     with ads
                      consumers with        that they
                                        ads that they are
                                                      are more
                                                          more likely  to find
                                                                likely to find relevant).
                                                                               relevant).

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               ACCESS (§
               To foster transparency and control where PII is used for Tailored Advertising, the Code requires member
               companies to provide reasonable access to any PII and associated DII collected and used for Tailored
               Advertising purposes and to provide users with a method of requesting the deletion of their PII and any
               associated DII. Such a deletion request mechan sm is additional to the PII-based Opt-Out Mechanism
               required by section II.C.3 of the Code if members use PII for Tailored Advertising. However, members
               may combine the two functions into one user choice tool that allows the user to both opt-out of Tailored
               Advertising and to request access to or the deletion of their PII. Any PII collected during this process may
               only be used by the member to maintain the user's opt-out and deletion preferences.

               The Code does not require companies to provide access to DII that is not associated with PII. However,
               some NAI member companies provide users access to DII-based interest segments associated with
               their browsers or devices. The NAI believes that these "preference managers" are an excellent means
               of providing users with increased levels of transparency and control. Accordingly, the NAI continues to
               encourage members to provide such access when practicable.

               RESPONSIBLE SOURCES (§ II.F.2)
               Generally, the NAI encourages member companies to obtain data from companies that are part of the
               NAI or another self-regulatory program. Additional steps that members may take to help ensure that their
               data sources provide appropriate notice and choice to users include: (1) confirming that the data source is
               entitled to acquire, provide and/or license the data to the member; (2) reviewing the data source's privacy
               policy (if applicable); (3) understanding the technologies the data source uses to collect data and whether
               the company provides an effective Opt-Out Mechanism (if applicable) that, if possible, is included on an
               industry-wide opt-out page; and (4) taking reasonable steps to evaluate whether the data source secures
               an appropriate level of consent from users for the types of data it collects, which may be accomplished by
               reviewing the data source's privacy policy, commercial agreements, and marketing materials for information
               on how the company collects data. Such measures are particularly important when member companies
               obtain data from companies that are not NAI members or otherwise subject to self-regulatory oversight of
               their privacy practices.

               DATA SECURITY (§ II.F.3)
               Members are required to attest in writing that they have reasonable and appropriate procedures in place
               to secure their data as required by the NAI Code. NAI staff does not conduct security audits of member
               companies or otherwise review the data security practices of members. NAI staff does not opine on or
               otherwise advise members on specific data security measures, as what is reasonable and appropriate
               depends on the members' business models, commensurate with the sensitivity of the data that is retained.
               Because business models vary from member to member, member companies, not NAI staff, are in the
               better position to determine what is appropriate under a given set of circumstances.

               DATA RETENTION (§ II.F.4)
               The NAI Code requires member companies to keep data that is "reasonably linkable to a device," and
               thus considered DII under the Code (or any PII used for Tailored Advertising or Ad Delivery and Reporting
               purposes), only so long as is necessary to serve the purpose for which the data was collected, or to fulfill
               another legitimate business need. In accordance with section II.B.1.a.v, member companies are required
               to publicly disclose the period of time for which they retain such data for those purposes. At the end of
               that publicly-stated retention period, members are required to either delete such data, or to render it
               De-Identified Information by taking steps to ensure that it cannot reasonably be linked to a particular
               individual, computer, or device.

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